Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 1 of 108 PageID #:1036




            EXHIBIT A
   Case:
Case:    1:15-cv-08489
      1:15-cv-08489    Document
                    Document     #: 11 Filed:
                             #: 112-1  Filed: 09/29/21
                                              12/23/15 Page
                                                       Page 21 of
                                                               of 108
                                                                  21 PageID
                                                                      PageID#:33
                                                                             #:1037




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

EDDIE RAY BRADLEY,                                     )
                                                       )
               Plaintiff,                              )
                                                       )
v.                                                     )
                                                       )   Court No. 15 cv 08489
VILLAGE OF UNIVERSITY PARK,                            )
ILLINOIS, an Illinois Home Rule municipality,          )   Honorable Judge Charles R, Norgle, Sr.
and VIVIAN COVINGTON, Mayor of                         )
UNIVERSITY PARK, ILLINOIS, both                        )
Individually and her official capacity as mayor,       )
                                                       )
                Defendants.                            )

             DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES TO
                          PLAINTIFF’S COMPLAINT

                                   NATURE OF THE CASE

       1.      Plaintiff brings this action for violation of his civil rights, and of Illinois law and

statutes regarding termination of village police chiefs, and of the Illinois Wage Payment and

Collection act and the Illinois Whistleblower act.

ANSWER:        Defendants admit that the Plaintiff has brought this action for alleged violations of

the above stated statutes and acts, however Defendants deny any wrongdoing or liability in

connection thereto.


                                JURISDICTION AND VENUE


       2.      This action arises under the United States Constitution, amendment XIV, and

federal statutes, 42 U.S.C. §§ 1983 and 1988. Jurisdiction over such claims arises under 28

U.S.C. § 1331, and 28 U.S.C. § 1343. The Court has supplemental jurisdiction over Plaintiff’s

remaining state court claims pursuant to 28 U.S.C. § 1367(a).

ANSWER:        Defendants admit the allegations contained in paragraph 2.

                                                   1
   Case:
Case:    1:15-cv-08489
      1:15-cv-08489    Document
                    Document     #: 11 Filed:
                             #: 112-1  Filed: 09/29/21
                                              12/23/15 Page
                                                       Page 32 of
                                                               of 108
                                                                  21 PageID
                                                                      PageID#:34
                                                                             #:1038




        3.       Venue is proper in this judicial district in accord with 28 U.S.C. § 1391 (b) and

(c), as Plaintiff and Defendants reside in this district or have their principal place of business in

this district, and all events giving rise to Plaintiff’s claims occurred within this district.

ANSWER:          Defendants admit the allegations contained in paragraph 3.


                                          JURY DEMAND


        4.       Pursuant to Rule 38 of the Federal Rules of Civil Procedure, plaintiff requests a

trial by jury.

ANSWER:          Defendants also request a trial by a 12 person jury.


                                               PARTIES


        5.       Plaintiff EDDIE TAY BRADLEY (hereinafter “Plaintiff” or “BRADLEY”), at all

times relevant to this complaint, is a citizen of the United States and has resided in the Village of

University Park, Illinois 60484. His place of employment as Chief of Police was the Village of

University Park, Police Station, 650 Burnham Drive, the vast majority of which is located in Will

County, Illinois.

ANSWER:          Defendants admit that Plaintiff resided in the Village of University Park and that

Plaintiff was employed as Chief of Police of the Village of University Park.


        6.       Plaintiff has an extensive and exemplary law enforcement background and was

Chief of Police of the Village of University Park, Illinois from October of 2013 until his

purported termination, first revealed to his in a letter to Plaintiff signed by defendant Mayor

Covington dated May 29, 2015. A copy of this letter is attached hereto and made part hereof as

Exhibit A to this Complaint.




                                                    2
   Case:
Case:    1:15-cv-08489
      1:15-cv-08489    Document
                    Document     #: 11 Filed:
                             #: 112-1  Filed: 09/29/21
                                              12/23/15 Page
                                                       Page 43 of
                                                               of 108
                                                                  21 PageID
                                                                      PageID#:35
                                                                             #:1039



ANSWER:        Defendant admits that Plaintiff was Chief of Police and that the termination letter

has been attached to the Complaint as Exhibit A and deny the remainder of the allegations

contained in paragraph 6.


       7.      The VILLAGE’s Chief of Police immediately prior to Plaintiff was Mel Davis

who did not have a written agreement with the VILLAGE. He was paid a $25,000.00 severance.

ANSWER:        Defendants admit that Mel Davis was the Chief of Police for the Village of

University Park and was paid a severance but deny the relevance said allegations contained in

paragraph 7.


       8.      Defendant VILLAGE OF UNIVERSITY PARK, ILLINOIS (hereinafter the

“VILLAGE”) is a home rule unit of Illinois and an Illinois municipal corporation.

ANSWER:        Defendants admit the allegations contained in paragraph 8.


       9.      Defendant Vivian Covington (hereinafter the “MAYOR”) is the present Mayor of

the VILLAGE and was its Mayor at all times relevant to this Complaint and is sued in both her

official capacity and individually.

ANSWER:        Defendants admit that the Mayor is being sued in both her official and individual

capacity, but deny any liability in connection thereto.


       10.     The May 29, 2015 letter from the MAYOR acknowledges Plaintiff’s contract of

employment but claims, inter alia, that Plaintiff’s contarct was the Village is “ultra vires” and

“void ab initio” and therefore, the letter claims, “the contract conferred no rights, imposed no

duties and afforded no protection.” The letter purports to rely on an 1892 Illinois court decision

and 65 ILCS 5/3.1-30-5(c), a statute concerning the replacement of a removed or dismissal

municipal officer.



                                                   3
   Case:
Case:    1:15-cv-08489
      1:15-cv-08489    Document
                    Document     #: 11 Filed:
                             #: 112-1  Filed: 09/29/21
                                              12/23/15 Page
                                                       Page 54 of
                                                               of 108
                                                                  21 PageID
                                                                      PageID#:36
                                                                             #:1040



ANSWER:        Defendants admit that Plaintiff has stated what was written in said letter, but deny

the remainder of the allegations contained in paragraph 10.


       11.     Prior to the May 29th letter, the MAYOR informed Plaintiff by letter dated May

16, 2015, that he had been placed on “administrative leave” with pay. A copy of this letter is

attached to this Complaint as Exhibit B and made part hereof.

ANSWER:        Defendants admit that Exhibit B speaks for itself and deny the remainder of the

allegations contained in paragraph 11.


       12.     Plaintiff commenced work as Chief of Police of the Village pursuant to a written

contract. After one year, he was offered and he accepted a new written employment contract

paying him a salary of $100,000.00 a year, plus the following enumerated benefits: full medical

benefits; three weeks vacation in 2015 for January 1 to December 31; four weeks vacation in

2016 for January to December 31; any vacation for the year that is not used by December 1 shall

be paid at that time; sick time, 10 hours per month (bringing forward 120 hours for fiscal year

2014), two weeks annual Police Chief training mandatory with expenses paid by the Village.

Department take home car, all village recognized holidays off.

ANSWER:        Defendants admit the allegations contained in paragraph 12.


       13.     Plaintiff’s written contract provides for removal for cause, only after service of

written notice of the for-cause charges at least seven (7) days before any date for a hearing with

such hearing to be before the Village Board at which time Plaintiff “shall be allowed to explain

his position,” and the Village Manager may suspend Plaintiff with or without pay from the

period prior to the hearing and any period, not in excess of two (2) weeks during which time the

Village Board will consider termination of the contract.



                                                 4
   Case:
Case:    1:15-cv-08489
      1:15-cv-08489    Document
                    Document     #: 11 Filed:
                             #: 112-1  Filed: 09/29/21
                                              12/23/15 Page
                                                       Page 65 of
                                                               of 108
                                                                  21 PageID
                                                                      PageID#:37
                                                                             #:1041



ANSWER:         Defendants admit that the contract states as such, but assert that other reasons

existed for the Plaintiff’s dismissal and therefore deny the remainder of the allegations contained in

paragraph 13.


       14.      Plaintiff’s written contract provides for termination without cause but requires

that the Village Board notify Plaintiff in writing of that decision and pay a termination fee equal

to four (4) months salary to Bradley, “as Bradley may have lost other employment

opportunities.” A copy of the contract is attached here as Exhibit C and made part hereof.

ANSWER:         Defendants admit that Exhibit C is attached and this document speaks for itself and

deny the remainder of the allegations contained in paragraph 14.


                             FACTS COMMON TO ALL CLAIMS


       15.      At all times material to this complaint, Plaintiff was employed by the defendant

VILLAGE as its Chief of Police for one year and eight months under his written employment

contracts.

ANSWER:         Defendants deny that Plaintiff was employed as the Chief of Police for the Village

for twenty months, but admit that he held the position from October of 2013 till May 29, 2015.


       16.      Both because of his written contract of employment and by virtue of Illinois law,

Plaintiff has a protectable property interest in his position.

ANSWER:         Objection, paragraph 16 of Plaintiff’s Complaint calls for a legal conclusion.


       17.      Plaintiff performed all of the duties of his position satisfactorily.

ANSWER:         Defendants deny the allegation contained in paragraph 17.


       18.      Illinois law expressly sets forth a process for the removal of police chiefs in home

rule units. See 65 ILCS 5/10-2.1-4 and 5/10-2.1-17.


                                                   5
   Case:
Case:    1:15-cv-08489
      1:15-cv-08489    Document
                    Document     #: 11 Filed:
                             #: 112-1  Filed: 09/29/21
                                              12/23/15 Page
                                                       Page 76 of
                                                               of 108
                                                                  21 PageID
                                                                      PageID#:38
                                                                             #:1042



ANSWER:         Objection, paragraph 18 of Plaintiff’s Complaint calls for a legal conclusion.


        19.     65 ILCS 5/10-2.1-4 requires that the mayor of a municipality file with the

municipality’s board “the reasons for such removal or discharge, which removal or discharge

shall not become effective unless confirmed by a majority vote of the corporate authorities.”

ANSWER:         Objection, paragraph 19 of Plaintiff’s Complaint calls for a legal conclusion.


        20.     This has not been done in the instant case.

ANSWER:         Defendants admit the allegations contained in paragraph 20.


        21.     On May 12, 2015, a “regular Meeting” of the VILLAGE Board of Trustees was

held.

ANSWER:         Defendants admit the allegations contained in paragraph 21.


        22.     Though required by law and his contract, Plaintiff has never received any required

notifications or statement of reasons for dismissal or termination.

ANSWER:         Defendants admit that Plaintiff never received notification or statement of reasons

for his termination, but deny that Plaintiff was owed same, and deny the remainder of the

allegations contained in paragraph 22.


        23.     In addition, 65 ILCS 5/10-2.1-17 further requires that: “Except as hereinafter

provided, no officer or member of the fire or police department of any municipality such to this

Division 2..1 shall be removed or discharged except for cause, upon written charges, and after an

opportunity to be heard in his own defense. ***” The hearing is to be commenced within 30 days

of the filing of the reasons.”

ANSWER:         Objection, paragraph 23 of Plaintiff’s Complaint calls for a legal conclusion.


        24.     No hearing as required by 65 ILCS 5/10-2.1-17 has ever been conducted.

                                                  6
   Case:
Case:    1:15-cv-08489
      1:15-cv-08489    Document
                    Document     #: 11 Filed:
                             #: 112-1  Filed: 09/29/21
                                              12/23/15 Page
                                                       Page 87 of
                                                               of 108
                                                                  21 PageID
                                                                      PageID#:39
                                                                             #:1043



ANSWER:        Objection, paragraph 24 of Plaintiff’s Complaint calls for a legal conclusion.


       25.     65 ILCS 5/10-2.1-17 further provides that if a police chief is “appointed in the

manner provided by ordinance,” while they may be removed or discharges “by the appointing

authority” the appointing authority is required to “file with the corporate authorities the reasons

for such removal or discharge, which removal or discharge shall not become effective unless

confirmed by a majority vote of the corporate authorities.” (Emphasis added.) In addition, the

municipality’s board of fire and police commissioners are to conduct a “fair and impartial

hearing of the charges, to be commenced within 30 days of the filing thereof….”

ANSWER:        Objection, paragraph 25 of Plaintiff’s Complaint calls for a legal conclusion.


       26.     Plaintiff is unaware of the filing of any reasons for his dismissal or termination

pursuant to 65 ILCS 5/10-2.1-17 by the VILLAGE nor has the board of fire and police

commissioners conducted any hearing to permit Plaintiff to respond, nor has his contractual right

to notice been complied with.

ANSWER:        Defendants are without knowledge to either admit or deny the allegations contained

in paragraph 26.


       27.     Plaintiff has never been accorded a name-clearing hearing by the VILLAGE or its

Board of Fire and Police Commissioners.

ANSWER:        Defendants deny that Plaintiff is entitled to a “name-clearing” hearing and

therefore deny paragraph 27.


       28.     Plaintiff pointed out the blatant violation of his statutory and due process rights in

his purported termination and that under Illinois law, he was still Chief of Police, by certified

latter to Mayor Covington dated July 14, 2015 and received on July 17, 2015. (A copy is

attached to this Complaint as Exhibit D and made part hereof.)
                                                 7
   Case:
Case:    1:15-cv-08489
      1:15-cv-08489    Document
                    Document     #: 11 Filed:
                             #: 112-1  Filed: 09/29/21
                                              12/23/15 Page
                                                       Page 98 of
                                                               of 108
                                                                  21 PageID
                                                                      PageID#:40
                                                                             #:1044



ANSWER:        Defendants admit that Exhibit D was sent by Plaintiff’s counsel and that the

document speaks for itself.


       29.     To date there has been no response to that letter.

ANSWER:        Defendants admit the allegations contained in paragraph 29.


       30.     Except for termination for cause, Plaintiff is entitled under his contract to

severance pay amounting to four months pay at his regular salary after termination, No legally

appropriate termination pursuant to the agreement and state law has yet to occur here and

therefore his right to salary and benefits has never abated.

ANSWER:        Defendants admits that the contract discusses pay, but deny the remainder of the

allegations contained in paragraph 30.


       31.     Plaintiff has never been convicted of any offenses which could result in

termination nor cause nor has the MAYOR or the VILLAGE so claimed.

ANSWER:        Defendants are without knowledge to either admit or deny the allegations contained

in paragraph 31.


       32.     No reason has ever been given for the claimed termination of Plaintiff’s contract.

ANSWER:        Objection, paragraph 32 is duplicative and therefore no answer is required.


       33.     No notice was ever given to Plaintiff enumerating any charges for termination or

suspension, nor to the best of Plaintiff’s knowledge, has any hearing been held at which a

majority vote was taken to terminate him.

ANSWER:        Defendants deny the allegations contained in paragraph 33.


       34.     Plaintiff has been afforded no opportunity to be heard regarding any decision to

terminate his contract.


                                                  8
   Case:
Case:     1:15-cv-08489
      1:15-cv-08489     Document
                    Document     #: 11Filed:
                             #: 112-1  Filed:09/29/21
                                              12/23/15Page
                                                       Page10
                                                            9 of
                                                              of 21
                                                                 108PageID
                                                                     PageID#:41
                                                                             #:1045



ANSWER:         Defendants deny that any opportunity was required and therefore deny the

allegations contained in paragraph 34.


        35.     Defendants’ publicized Plaintiff’s illegal and improper “termination”.

ANSWER:         Defendants deny the allegations contained in paragraph 35.


        36.     To date, there has been no response from either the VILLAGE or the Mayor and

Plaintiff has received no wage payments since on or about May 15, 2015.

ANSWER:         Defendants admit that they have not responded or made wage payments to the

Plaintiff, but deny that any were required.


                                            COUNT I
                                    (Violation of Civil Rights)
        37.     Plaintiff reincorporates paragraphs 1-36 above as if set out in this Count I in full.

ANSWER:         Defendants reincorporate and reallege their answers to paragraphs 1-36 as if fully

restated herein.


        38.     Plaintiff has at all times possessed a present entitlement to the benefits of his

contract which constitutes a protected property interest under by the Due Process Clause of the

Fourteenth Amendment to the Unites States Constitution and the Illinois Constitution of 1970,

art. 1, section 2.

ANSWER:         Paragraph 38 is an allegation of law to which no answer is required.


        39.     Defendants have failed to accord Plaintiff due process of law in that they have

failed to provide a fair and prompt pre-termination hearing, including but not limited to the

notice required by law as well as contract of the hearing date, place and time, and notice of the

charge or charges being leveled against Plaintiff, and in other way providing Plaintiff with an




                                                  9
   Case:
Case:    1:15-cv-08489
      1:15-cv-08489    Document
                    Document     #: 11 Filed:
                             #: 112-1  Filed: 09/29/21
                                              12/23/15 Page
                                                       Page 11
                                                            10 of
                                                               of 108
                                                                  21 PageID
                                                                      PageID#:42
                                                                             #:1046




opportunity to be heard, in violation of the due process clause of the United States Constitution,

amendment XIV, and the Illinois Constitution of 1970, article 1, section 2.

ANSWER:          Paragraph 39 is an allegation of law to which no answer is required. Defendants

deny due process was required.


           40.   Defendants have further failed to provide any fair and prompt post-termination

hearing, in violation of the due process clause of the United States Constitution, amendment

XIV, and the Illinois

Constitution of 1970, article 1, section 2.


ANSWER:          Paragraph 40 is an allegation of law to which no answer is required. Defendants

deny due process was required.


           WHEREFORE Defendants, MAYOR VIVIAN COVINGTON and the VILLAGE OF

UNIVERSITY PARK, pray that this honorable court find in their favor and against the Plaintiff

and for all other relief deemed necessary and just under the circumstances.


                                          COUNT II
                        (Breach of Contract – Failure to Give Notice and
                            To Provide an Opportunity to be Heard)
           41.   Plaintiff reincorporates paragraphs 1 – 40 of Count I as of set out in this Count II

in full.

ANSWER:          Defendants reincorporate and reallege their answers to paragraphs 1-40 as if fully

restated herein.


           42.   Plaintiff’s employment agreement expressly provides that it can be terminated

only following proper “written notice setting forth the charges against his at least seven (7) days

prior to such hearing.” (See Exhibit C to this Complaint).


                                                  10
   Case:
Case:    1:15-cv-08489
      1:15-cv-08489    Document
                    Document     #: 11 Filed:
                             #: 112-1  Filed: 09/29/21
                                              12/23/15 Page
                                                       Page 12
                                                            11 of
                                                               of 108
                                                                  21 PageID
                                                                      PageID#:43
                                                                             #:1047



ANSWER:         Objection, paragraph 42 is duplicative to paragraph 14, further answering, Exhibit

C speaks for itself.


        43.     Plaintiff’s contract requires that defendant VILLAGE to provide Plaintiff was a

hearing where he would have an opportunity to be heard on the charges leveled against him.

ANSWER:         Defendants admit that the contract requires a hearing but denies same was required

and therefore deny the remainder of paragraph 43.


        44.     Plaintiff has received no notice, no hearing nor opportunity to be heard by the

VILLAGE in breach of his written employment agreement.

ANSWER:         Defendants admit the allegations contained in paragraph 44, but deny same was

required and further deny contract was breached.


        45.     In addition, Plaintiff’s contract states that except for his conviction of a felony or

of a crime involving moral turpitude of “for cause,” he is entitled to severance pay equal to four

(4) months of his regular salary.

ANSWER:         Defendants admit that the contract requires a hearing but denies same was required

and therefore deny the remainder of paragraph 45.


        46.     The claimed termination here was neither pursuant to proper or any notice nor

was it based on any allegation of cause or criminal conduct, nor was Plaintiff provided a hearing,

all in breach of the contract.

ANSWER:         Defendants deny that the contract was breached and that the termination was

improper and therefore deny the allegations contained in paragraph 46.


        WHEREFORE Defendants, MAYOR VIVIAN COVINGTON and the VILLAGE OF

UNIVERSITY PARK, pray that this honorable court find in their favor and against the Plaintiff

and for all other relief deemed necessary and just under the circumstances.
                                                 11
   Case:
Case:    1:15-cv-08489
      1:15-cv-08489    Document
                    Document     #: 11 Filed:
                             #: 112-1  Filed: 09/29/21
                                              12/23/15 Page
                                                       Page 13
                                                            12 of
                                                               of 108
                                                                  21 PageID
                                                                      PageID#:44
                                                                             #:1048




                                            COUNT III
                                          (DEFAMATION)

           47.   Plaintiff reincorporates paragraphs 1-46 of Count II as if set out in this Count III

in full.

ANSWER:          Defendants reincorporate and reallege their answers to paragraphs 1-46 as if fully

restated herein.


           48.   The actions of the defendants in publicizing their illegal purported termination of

Plaintiff constituted defamation per se, injuring him in his professional and held him out to

public opprobrium, impeached his integrity, and his reputation and lowered him in the eyes of

the community.

ANSWER:          Objection, calls for legal conclusion and therefore defendants deny the allegations

contained in paragraph 48.


           49.   Illinois recognizes five categories of statements that defamatory per se: (1) those

imputing the commission of a criminal offense; (2) those imputing infection with a loathsome

communicable disease; (3) those imputing an inability to perform or want of integrity in the

discharge of duties of office or employment; (4) those that prejudice a party or impute lack of

ability in the party’s trade, profession or business; and (5) those imputing adultery or fornication.

ANSWER:          Objection, calls for legal conclusion and therefore defendants deny the allegations

contained in paragraph 49.


           50.   Defendants’ actions in publicizing Plaintiff’s termination without providing him

with a name-clearing hearing, implied that he was unable to perform his profession, was guilty of

criminality, or imputed a lack of ability in his trade, profession or business, and seriously

prejudiced him in the law enforcement community and therefore, constitute defamation per se.


                                                  12
   Case:
Case:    1:15-cv-08489
      1:15-cv-08489    Document
                    Document     #: 11 Filed:
                             #: 112-1  Filed: 09/29/21
                                              12/23/15 Page
                                                       Page 14
                                                            13 of
                                                               of 108
                                                                  21 PageID
                                                                      PageID#:45
                                                                             #:1049



ANSWER:         Objection, paragraph 50 of Plaintiff’s Complaint calls for a legal conclusion and

therefore defendants deny the allegations contained in paragraph 50.


       51.      The publication of the illegal termination without any name-clearing hearing was

intended to hold Plaintiff up to scorn, ridicule and public opprobrium and suggest that he was

guilty of some criminal act and to impeach his reputation.

ANSWER:         Defendants deny the allegations contained in paragraph 51.


       52.      The defendants published the illegal termination Plaintiff knowing that it was

false and with reckless disregard for the truth or falsity.

ANSWER:         Defendants deny the allegations contained in paragraph 52.


       53.      The defendants’ actions were intentionally malicious, seeking to not only injure

Plaintiff but to permanently damage Plaintiff’s reputation within the law enforcement

community in the United States to destroy Plaintiff’s ability to obtain similar future employment.

ANSWER:         Defendants deny the allegations contained in paragraph 53.


       54.      The publications were defamatory per se and are not capable of an innocent

construction.

ANSWER:         Objection, calls for legal conclusions. Without waiving said objections, Defendants

deny the allegations contained in paragraph 54.


       55.      The publications were for the sole purpose of revenge and vindictiveness for

Plaintiff’s investigation into various activities of members of the VILLAGE BOARD and

individuals on the police force.

ANSWER:         Defendants deny the allegations contained in paragraph 55.




                                                  13
   Case:
Case:    1:15-cv-08489
      1:15-cv-08489    Document
                    Document     #: 11 Filed:
                             #: 112-1  Filed: 09/29/21
                                              12/23/15 Page
                                                       Page 15
                                                            14 of
                                                               of 108
                                                                  21 PageID
                                                                      PageID#:46
                                                                             #:1050




           56.   The actions of the defendants and each of them were the direct and proximate

cause of damage to Plaintiff.

ANSWER:          Defendants deny the allegations contained in paragraph 56.


           WHEREFORE Defendants, MAYOR VIVIAN COVINGTON and the VILLAGE OF

UNIVERSITY PARK, pray that this honorable court find in their favor and against the Plaintiff

and for all other relief deemed necessary and just under the circumstances.


                                            COUNT IV
                                          (FALSE LIGHT)

           57.   Plaintiff reincorporates paragraphs 1-56 of Count III as if set out in this Court IV

in full.

ANSWER:          Defendants reincorporate and reallege their answers to paragraphs 1-56 as if fully

restated herein.


           58.   The defendants’ actions in publicizing Plaintiff’s illegal termination placed

Plaintiff in a false light before the public and their actions extended far beyond any privileged

scope.

ANSWER:          Defendants deny the legal allegations contained in paragraph 58.


           59.   The false light in which Plaintiff was paced, that he had failed to perform the

duties of his office appropriately or was removed for failure to perform or for a want of integrity

or for criminality, is highly offensive to a reasonable person.

ANSWER:          Defendants deny the legal allegations contained in paragraph 59.


           60.   The defendants acted with actual malice, that is with the knowledge that the

termination was illegal and placed Plaintiff in a false light or with reckless disregard for whether

the public assumed the basis for the termination was true or false.

                                                  14
   Case:
Case:    1:15-cv-08489
      1:15-cv-08489    Document
                    Document     #: 11 Filed:
                             #: 112-1  Filed: 09/29/21
                                              12/23/15 Page
                                                       Page 16
                                                            15 of
                                                               of 108
                                                                  21 PageID
                                                                      PageID#:47
                                                                             #:1051



ANSWER:        Defendants deny the legal allegations contained in paragraph 60.


        WHEREFORE Defendants, MAYOR VIVIAN COVINGTON and the VILLAGE OF

UNIVERSITY PARK, pray that this honorable court find in their favor and against the Plaintiff

and for all other relief deemed necessary and just under the circumstances.


                                           COUNT V
                             (Illinois Whistleblower Act Violation)

        61.    Plaintiff reincorporates paragraphs 1 – 60 of Count IV as of set out in this Count

V in full.

ANSWER:        Defendants reincorporate and reallege their answers to paragraphs 1-60 as if fully

restated herein.


        62.    Plaintiff disclosed to the Village Manager the details of an investigation he was

conducting into an account discovered at Seaway Bank. After disclosing the investigation, the

person on the account resigned from VILLAGE employment in or about June, 2015.

ANSWER:        Defendants are without knowledge to either admit or deny the allegations contained

in paragraph 62.


        63.    This information was conveyed to the defendant MAYOR and to the VILLAGE.

ANSWER:        Defendants deny the allegations contained in paragraph 63.


        64.    Plaintiff was conducting an investigation into the handling of stolen vehicles

placed into storage by the VILLAGE. This investigation was reported to the defendant MAYOR.

ANSWER:        Defendants deny the allegations contained in paragraph 64.


        65.    Plaintiff was conducting an investigation into a VILLAGE Trustee who was

accused of pistol whipping his son, breaking his son’s jaw. Plaintiff received a communication


                                                15
   Case:
Case:    1:15-cv-08489
      1:15-cv-08489    Document
                    Document     #: 11 Filed:
                             #: 112-1  Filed: 09/29/21
                                              12/23/15 Page
                                                       Page 17
                                                            16 of
                                                               of 108
                                                                  21 PageID
                                                                      PageID#:48
                                                                             #:1052




from the Village Clerk asking why the records were at the station. He was advised that they

should not be there due to their age. The Clerk had received an FOIA request for the records.

Plaintiff was told to forget about the incident because the trustee was a friend of the MAYOR.

ANSWER:          Defendants are without knowledge to either admit or deny the allegations contained

in paragraph 65.


           66.   On complaining to the Village Manager and to the MAYOR, Plaintiff stated his

concerns and what Plaintiff believed to be violation of federal and state law as well as Village

policy.

ANSWER:          Defendants deny the allegations contained in paragraph 66.


           67.   Defendant MAYOR retaliated against the Plaintiff for conducting and reporting

his investigations and continuing them after being warned to cease, by illegally termination

Plaintiff’s employment as Chief of Police.

ANSWER:          Defendants deny the allegations contained in paragraph 67.


                                                COUNT VI
                     (Violations of the Illinois Wage Payment and Collection Act)

           68.   Plaintiff reincorporates paragraphs 1 – 67 of Count V as if set out in this Count VI

in full.

ANSWER:          Defendants reincorporate and reallege their answers to paragraphs 1-67 as if fully

restated herein.


           69.   Plaintiff brings Count VI pursuant to 820 ILCS 115/11 (c) and this Court’s

supplemental jurisdiction under 28 U.S.C. § 1367 (a) to hear and adjudicate violations of this

Act.




                                                  16
   Case:
Case:    1:15-cv-08489
      1:15-cv-08489    Document
                    Document     #: 11 Filed:
                             #: 112-1  Filed: 09/29/21
                                              12/23/15 Page
                                                       Page 18
                                                            17 of
                                                               of 108
                                                                  21 PageID
                                                                      PageID#:49
                                                                             #:1053



ANSWER:        Defendants admit that the Plaintiff has brought this action for alleged violations of

the above stated statute, however Defendants deny any wrongdoing or liability in connection

thereto.


       70.     Plaintiff’s contract, unless properly terminated, runs through 2016.

ANSWER:        Defendants admit that Plaintiff’s contract ran through 2016, but deny the

remainder of the allegations contained in paragraph 70.


       71.     To date, Defendants have made no payment of wages to Plaintiff since the

purported termination though the contract of employment has never been legally terminated.

ANSWER:        Defendants admit that they have made no wage payments, but deny that Plaintiff

was improperly terminated.


       72.     Plaintiff has made timely and appropriate demands on Defendants for payment of

wages. Defendants have refused to make any payments for wages.

ANSWER:        Defendants deny the allegations contained in paragraph 72.


       WHEREFORE Defendants, MAYOR VIVIAN COVINGTON and the VILLAGE OF

UNIVERSITY PARK, pray that this honorable court find in their favor and against the Plaintiff

and for all other relief deemed necessary and just under the circumstances.


                                 AFFIRMATIVE DEFENSES

             Affirmative Defense I – Failure to Exhaust Administrative Remedies

       Plaintiff has failed to exhaust his administrative remedies.

                         Affirmative Defense II – Qualified Immunity

       At all relevant times Defendant, VIVIAN COVINGTON, was employed by the Village

of University Park and a reasonable person, objectively viewing the facts and circumstances that


                                                17
   Case:
Case:    1:15-cv-08489
      1:15-cv-08489    Document
                    Document     #: 11 Filed:
                             #: 112-1  Filed: 09/29/21
                                              12/23/15 Page
                                                       Page 19
                                                            18 of
                                                               of 108
                                                                  21 PageID
                                                                      PageID#:50
                                                                             #:1054




confronted the Defendant, VIVIAN COVINGTON, would have believed her actions to be lawful

in light of clearly established law and the information they possessed at the time, as such this

Defendant is entitled to qualified immunity. Further, to the extent that this Court finds the

Defendants to be acting within the scope of their employment with the City of Chicago Heights,

then the Defendants are entitled to qualified immunity for their actions, as they were not acting

in the individual capacity.

                              Affirmative Defense III – Tort Immunity

       To the extent that Defendant, VIVIAN COVINGTON, was acting within the scope of her

employment as Mayor of the Village of University Park, Illinois, the public employee or public

agent is not liable for her acts or omissions in the execution of her job duties, unless such

conduct constitutes “willful and wanton” conduct. 745 ILCS 10/2-202 (2004). Accordingly the

Plaintiff’s state law claims against Mayor, VIVIAN COVINGTON, are barred, in whole or in

part, by Tort Immunity.

       Under the Tort Immunity Act, Mayor, VIVIAN COVINGTON exercised discretionary on

a non-ministerial matter and is not liable for any resulting injuries. 745 ILCS 10/2-201.

Accordingly, the Plaintiff’s state law claims against Mayor, VIVIAN COVINGTON, are barred,

in whole or in part, by the Tort Immunity Act.

       Under the Illinois Tort Immunity Act, Defendants are not liable under state law for any

injury caused by the act or omission of another person. 745 ILCS 10/2-204.

       Under the Illinois Tort Immunity Act, a public employee is not liable for injury caused by

his instituting or prosecuting any judicial or administrative proceeding within the scope of his

employment, unless he acts maliciously and without probable cause. 745 ILCS 10/2-208.




                                                 18
   Case:
Case:    1:15-cv-08489
      1:15-cv-08489    Document
                    Document     #: 11 Filed:
                             #: 112-1  Filed: 09/29/21
                                              12/23/15 Page
                                                       Page 20
                                                            19 of
                                                               of 108
                                                                  21 PageID
                                                                      PageID#:51
                                                                             #:1055




       To the extent that this Court finds the defendants to be acting within the scope of their

employment with the Village of University Park, then the defendants are entitled to the statute

known as the Local Government and Government Employees Tort Immunity Act (“Tort

Immunity Act”), 745 ILCS 10/1-101, et seq.

                   Affirmative Defense IV – Failure to State a Valid Claim

       The allegations and counts contained in Plaintiff’s Complaint fail to state a cause of

action, upon which relief can be granted.

                           Affirmative Defense V –Failure to Mitigate

       To the extent that the Plaintiff is entitled to any damages, which the Defendants expressly

deny, the Plaintiff failed to use reasonable efforts to mitigate his damages, and Plaintiff’s

damages, if proven, should be eliminated or reduced accordingly.

       To the extent any injuries or damages claimed by the Plaintiff were proximately caused,

in whole or in part, by negligent, willful, wanton, and/or other wrongful conduct on the part of

the Plaintiff, any verdict or judgment obtained by the Plaintiff must be reduced by application of

the principles of comparative fault, by an amount commensurate with the degree of fault

attributed to the Plaintiff by the jury in this case. If the Plaintiff’s fault is determined to exceed

fifty percent (50%) of the total cause, then the Plaintiff must be barred from recovery herein.

                                 Affirmative Defense VI – Truth

       Defendants assert truth as an Affirmative Defense to Plaintiff’s defamation claims.

                           Affirmative Defense VII – Tort Immunity

       Under 745 ILCS 10/2-107, a public entity is not liable for Plaintiff’s state law claims.

                         Affirmative Defense VIII – Qualified Privilege

       Qualified Privilege provides complete immunity to any and all of Plaintiff’s claims.



                                                 19
   Case:
Case:    1:15-cv-08489
      1:15-cv-08489    Document
                    Document     #: 11 Filed:
                             #: 112-1  Filed: 09/29/21
                                              12/23/15 Page
                                                       Page 21
                                                            20 of
                                                               of 108
                                                                  21 PageID
                                                                      PageID#:52
                                                                             #:1056




            Affirmative Defense IX – Plaintiff’s Claim are not “per se” Actionable

        Plaintiff is not entitled to recovery as defendant’s statements, in and of themselves, are

not so obviously and naturally harmful to make proof of special damages unnecessary, especially

since defendant’s statements do no (1) impute the commission of a criminal offense, (2) impute

infection with a loathsome communicable disease; (3) impute an inability to perform or want of

integrity in the discharge of duties of office or employment; or (4) prejudice plaintiff, or impute

lack of ability, in his or her trade, profession or business.

                          Affirmative Defense X – Defamation Privilege

        Plaintiff is not entitled to the relief sought a non-actionable opinion of the complaint as

defendants statements are true, substantially true and/or protected opinion.

                            Affirmative Defense XI – 1st Amendment

        Plaintiff is not entitled to recovery because defendants’ statements are protected under the

First Amendment to the United States Constitution, and Article 1, Section 4 of the Illinois

Constitution of 1970.

                        Affirmative Defense XII – Innocent Construction

        Plaintiff is not entitled to recovery because defendants’ statements are reasonably capable

of an innocent construction.

                          Affirmative Defense XIII – No Actual Malice

        Plaintiff is not entitled to recovery as plaintiff cannot establish that defendants’

statements were made with actual malice, as defendants statements were not false or made in

reckless disregard of the truth.

                             Affirmative Defense IXV – No Damages




                                                   20
   Case:
Case:    1:15-cv-08489
      1:15-cv-08489    Document
                    Document     #: 11 Filed:
                             #: 112-1  Filed: 09/29/21
                                              12/23/15 Page
                                                       Page 22
                                                            21 of
                                                               of 108
                                                                  21 PageID
                                                                      PageID#:53
                                                                             #:1057




       Plaintiff is not entitled to recovery as it cannot establish any economic loss or special

damages.

                      Affirmative Defense XV – Fair Reporting Privilege

       Plaintiff is not entitled to recovery as defendants’ statements relate to matters of

governmental affairs and proceedings and are protected by the fair reporting privilege, as well as

being a fair comment on a matter of public interest.

                             Affirmative Defense XVI – No Injury

       Plaintiff is not entitled to recovery as it has not sustained an actual injury.

                          Affirmative Defense XVII – Unclean Hands

       Plaintiff is not entitled to recovery as he has unclean hands.

       WHEREFORE, Defendants, VILLAGE OF UNIVERSITY PARK and VIVIAN

COVINGTON, respectfully request judgment in their favor and against the Plaintiff. Defendants

request that plaintiff take nothing by way of this Complaint and that they be awarded all fees and

costs incurred in defending this claim so wrongfully brought, or for all such other relief this court

deems just.

                                                       Respectfully submitted,



                                               By:     /s/ Patrick S. Wall_______
                                                       One of the Attorneys for Defendants

Paul A. O’Grady
Patrick S. Wall
Kevin M. Casey
Peterson, Johnson & Murray Chicago
200 West Adams, Suite 2125
Chicago, IL. 60606
pwall@pjmlaw.com




                                                  21
Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 23 of 108 PageID #:1058




            EXHIBIT B
Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 24 of 108 PageID #:1059
   Case: 1:15-cv-08489 Document #: 1-3 Filed: 09/25/15 Page 1 of 2 PageID #:17
Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 25 of 108 PageID #:1060
   Case: 1:15-cv-08489 Document #: 1-3 Filed: 09/25/15 Page 2 of 2 PageID #:18
Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 26 of 108 PageID #:1061




            EXHIBIT C
Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 27 of 108 PageID #:1062
   Case: 1:15-cv-08489 Document #: 1-2 Filed: 09/25/15 Page 1 of 1 PageID #:16
Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 28 of 108 PageID #:1063




            EXHIBIT D
Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 29 of 108 PageID #:1064
   Case: 1:15-cv-08489 Document #: 1-1 Filed: 09/25/15 Page 1 of 1 PageID #:15
Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 30 of 108 PageID #:1065




                  EXHIBIT E
Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 31 of 108 PageID #:1066
   Case: 1:15-cv-08489 Document #: 1-4 Filed: 09/25/15 Page 1 of 3 PageID #:19
Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 32 of 108 PageID #:1067
   Case: 1:15-cv-08489 Document #: 1-4 Filed: 09/25/15 Page 2 of 3 PageID #:20
Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 33 of 108 PageID #:1068
   Case: 1:15-cv-08489 Document #: 1-4 Filed: 09/25/15 Page 3 of 3 PageID #:21
Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 34 of 108 PageID #:1069




                  EXHIBIT F
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 35 of 108 PageID #:1070

                                                            cmsreporters@comcast.net

                                                                                                        Page 1
                                             IN THE UNITED STATES DISTRICT COURT
                                                      NORTHERN DISTRICT OF ILLINOIS
                                                                     EASTERN DIVISION


                                   EDDIE RAY BRADLEY                                )
                                                                                    )
                                                        Plaintiff,                  )
                                                                                    )
                                     vs.                                            )   No.15-cv-08489
                                                                                    )
                                   VILLAGE OF UNIVERSITY PARK,                      )
                                   et al.,                                          )
                                                                                    )
                                                        Defendants.


                                                          The deposition of
                                   JOSEPH E. ROUDEZ, III taken under oath VIA ZOOM
                                   at 10:34 A.M. on Wednesday, July 29, 2020
                                   pursuant to the Rules of the United States
                                   District Court, Northern District of Illinois,
                                   before Carol M. Siebert-LaMonica, C.S.R. No.
                                   084.001355 in and for the County of Cook and
                                   State of Illinois, pursuant to notice.




                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                             8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 36 of 108 PageID #:1071

                                                            cmsreporters@comcast.net

                                                                                                  Page 2
                           1       APPEARANCES:

                           2                 THE MORAN LAW GROUP, by

                           3                 MR. JOHN T. MORAN

                           4                 566 West Lake Street, Suite 101

                           5                 Chicago, IL              60661

                           6                 (J.t.m.moran@gmail.com)

                           7                                         And

                           8                 THE KELEHER APPELLATE LAW GROUP, LLC.

                           9                   MR. CHRISTOPHER KELEHER

                         10                    190 South LaSalle Street, Suite 2100

                         11                    Chicago, IL 60603

                         12                    (Ckeleher@appellatelawgroup.com)

                         13                               Appeared on behalf of the plaintiff;

                         14

                         15

                         16

                         17

                         18

                         19

                         20

                         21

                         22

                         23

                         24


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                       8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 37 of 108 PageID #:1072

                                                            cmsreporters@comcast.net

                                                                                                  Page 3
                           1                 PETERSON, JOHNSON & MURRAY CHICAGO

                           2                 MR. DOMINICK LANZITO

                           3                 200 West Adams, Suite 2125

                           4                 Chicago, IL               60606

                           5                 (Danzito@pjmchicago.com)

                           6                              Appeared on behalf of the defendants.

                           7

                           8

                           9                                         - - - - -

                         10

                         11

                         12

                         13

                         14

                         15

                         16

                         17

                         18

                         19

                         20

                         21

                         22

                         23

                         24


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                       8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 38 of 108 PageID #:1073

                                                            cmsreporters@comcast.net

                                                                                                            Page 4
                           1                                  JOSEPH E. ROUDEZ, III,

                           2       called as a witness herein, having been first

                           3       duly sworn, was examined and testified as

                           4       follows:

                           5                                    E X A M I N A T I O N

                           6       BY MR. MORAN:

                           7                 Q.         Okay.         Good morning, Mayor Roudez, how

                           8       are you?

                           9                 A.         I'm fantastic.          How are you?   Thank

                         10        you for asking.

                         11                             MR. MORAN:           You are welcome, and I'm

                         12        fine, too.

                         13                  Q.         Today we are here on an Amended Notice

                         14        of Deposition to take your deposition today in

                         15        a case of Eddie Ray Bradley versus Village of

                         16        University Park, et al, 15 CV 08489, a case

                         17        that's in front of Judge Norgle.

                         18                                     The -- apart from the correction

                         19        of my address, by agreement of the parties we

                         20        are taking your deposition remotely.                     Your

                         21        attorney had no objection to this, I take it

                         22        you don't have any objection to this?

                         23                  A.         No.          None.

                         24                  Q.         Okay.         I believe your attorney also


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                                 8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 39 of 108 PageID #:1074

                                                            cmsreporters@comcast.net

                                                                                                       Page 5
                           1       mentioned that the only document you reviewed

                           2       so far was the complaint itself and the

                           3       attachments to it?

                           4                 A.         Okay.

                           5                 Q.         Is that yes or no or --

                           6                 A.         Yes.

                           7                            MR. MORAN:       Okay.

                           8                                    All right.   This is going to be

                           9       the deposition of Mayor Joseph Roudez,

                         10        R O U D E Z, correct me if I spelled it wrong,

                         11        pursuant to the Federal Rules of Civil

                         12        Procedure.

                         13                  Q.         Mayor Roudez, what did you do to

                         14        prepare for the deposition today?

                         15                  A.         I prayed before I left out the house

                         16        and had a good hearty breakfast after

                         17        exercising.

                         18                  Q.         Okay.        Did you -- and you reviewed the

                         19        complaint and attachments to it, is that right?

                         20                  A.         Yes.

                         21                  Q.         Have you discussed the case with

                         22        anyone besides your lawyer, Mr. Lanzito?

                         23                  A.         No.

                         24                  Q.         Now, is this the first time you have


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                            8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 40 of 108 PageID #:1075

                                                            cmsreporters@comcast.net

                                                                                                        Page 6
                           1       been Mayor of University Park?

                           2                 A.         Yes.

                           3                 Q.         And when did you begin?

                           4                 A.         I was sworn in May 15, 2019.

                           5                 Q.         And when does your term end, sir?

                           6                 A.         Oh, boy, let's see, '23.       It is a

                           7       four-year term.

                           8                 Q.         Okay.        So it would be 5/14/23?

                           9                 A.         Somewhere in that area.

                         10                  Q.         Okay.        Is it correct that prior to

                         11        being Mayor you were a trustee of University

                         12        Park?

                         13                  A.         Yes.

                         14                  Q.         And how long were you a trustee?

                         15                  A.         2005 to 2017.

                         16                  Q.         So you were a trustee when Eddie

                         17        Bradley was the Police Chief, is that correct?

                         18                  A.         Yes.

                         19                  Q.         How would you describe your

                         20        relationship with Mr. Bradley when he was

                         21        Police Chief?

                         22                  A.         Professional.

                         23                  Q.         Did you interact with him often or on

                         24        a regular basis?


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                             8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 41 of 108 PageID #:1076

                                                            cmsreporters@comcast.net

                                                                                                      Page 7
                           1                 A.         At council meetings.

                           2                 Q.         How often does the council meet, at

                           3       least when you were trustee?

                           4                 A.         Twice a month, the 2nd and 4th

                           5       Tuesday.

                           6                 Q.         Did you ever have occasion to see

                           7       Ms. Covington, when she was the Mayor, interact

                           8       with Mr. Bradley?

                           9                 A.         Yes.

                         10                  Q.         And how would you describe their

                         11        interaction?

                         12                  A.         Let me find the correct words.

                         13                  Q.         Okay.

                         14                  A.         It was contentious.    It was --

                         15                  Q.         Contentious, is that what you said?

                         16                  A.         Yes.

                         17                  Q.         Do you recall was there ever a vote on

                         18        terminating Mr. Bradley as Police Chief?

                         19                  A.         Was there a vote terminating

                         20        Mr. Bradley?

                         21                  A.         Yes, there was.

                         22                  Q.         Do you recall who presented the motion

                         23        to terminate Mr. Bradley?

                         24                  A.         I was out of town.    I was not in


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                           8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 42 of 108 PageID #:1077

                                                            cmsreporters@comcast.net

                                                                                                     Page 8
                           1       attendance.

                           2                 Q.         So you don't know?

                           3                 A.         Correct.     I was not in town.   I was

                           4       not at that meeting.

                           5                 Q.         Were you at a meeting in Las Vegas for

                           6       the Village?

                           7                 A.         It was the end recon conference.

                           8       R E C O N.

                           9                 Q.         You were there with another trustee?

                         10                  A.         Yes.

                         11                  Q.         And who was that?

                         12                  A.         Keith J. Griffin.

                         13                  Q.         When Mr. Bradley was -- did Lafayette

                         14        Linear, do you know who he is?

                         15                  A.         He was the Village Manager.

                         16                  Q.         And at the time that this motion for

                         17        Bradley's termination came up did Mr. Linear

                         18        have any involvement in that?

                         19                  A.         I was out of town.

                         20                  Q.         Now Mr. Linear was replaced as Village

                         21        Manager while you were on the Board of

                         22        Trustees, is that correct?

                         23                  A.         Yes.

                         24                  Q.         And do you know -- do you recall who


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                          8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 43 of 108 PageID #:1078

                                                            cmsreporters@comcast.net

                                                                                                      Page 9
                           1       replaced him?

                           2                 A.         Bola Delano, B O L A, D E L A N O.

                           3                 Q.         Do you recall who presented Bola

                           4       Delano as Village Manager?

                           5                 A.         No, I was out of town.

                           6                 Q.         That happened while you were out of

                           7       town as well?

                           8                 A.         Yes.

                           9                 Q.         The same weekend, the same period of

                         10        time?

                         11                  A.         Yes.

                         12                  Q.         I see.       Do you know if the Village

                         13        provided Eddie Bradley with a pre-termination

                         14        hearing?

                         15                  A.         I don't know.

                         16                  Q.         Do you know if the Village ever gave

                         17        Mr. Bradley any reasons for his termination in

                         18        writing?

                         19                  A.         I don't know.

                         20                  Q.         Are you aware of any?

                         21                  A.         No.

                         22                  Q.         After he was terminated did

                         23        Mr. Bradley receive any kind of a hearing from

                         24        the Village?


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                           8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 44 of 108 PageID #:1079

                                                            cmsreporters@comcast.net

                                                                                                 Page 10
                           1                 A.         No.

                           2                 Q.         Did the Village ever give Mr. Bradley

                           3       an opportunity to comment or be heard after he

                           4       was -- before he was fired?

                           5                 A.         Not that I am aware of.

                           6                 Q.         Do you know if Mr. Bradley ever

                           7       received severance pay?

                           8                 A.         I don't know.

                           9                 Q.         Who would know that issue?

                         10                  A.         Finance Department.

                         11                  Q.         Do you know whether or not Mr. Bradley

                         12        was fired for criminal conduct?

                         13                  A.         I don't know.

                         14                  Q.         Are you aware if Mr. Bradley committed

                         15        any criminal offenses while you were trustee?

                         16                  A.         Please restate that question.

                         17                  Q.         Are you aware of Mr. Bradley

                         18        committing any criminal offenses while you were

                         19        trustee?

                         20                  A.         No.

                         21                  Q.         Do you know why Mr. Bradley was fired?

                         22                  A.         No.

                         23                  Q.         Do you know how his termination was

                         24        communicated to him?


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                        8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 45 of 108 PageID #:1080

                                                            cmsreporters@comcast.net

                                                                                                Page 11
                           1                 A.         No.

                           2                 Q.         Do you know how his termination was

                           3       communicated to Village employees?

                           4                 A.         No.

                           5                 Q.         Do you know how it was communicated to

                           6       the Village and the public at large?

                           7                 A.         No.

                           8                 Q.         Was Eddie Bradley unable to perform

                           9       his duties as Police Chief at the time of his

                         10        termination?

                         11                  A.         Was he unable to perform?

                         12                  Q.         Yes.

                         13                             MR. LANZITO:    Object to the form.

                         14        You can answer.

                         15                             THE WITNESS:   No.

                         16        BY MR. MORAN:

                         17                  Q.         Did Eddie Bradley lack integrity in

                         18        the performance of his duties as Police Chief?

                         19                  A.         No.

                         20                  Q.         Do you know -- are you aware of who

                         21        announced that Mr. Bradley had been fired?

                         22                  A.         No.

                         23                  Q.         So you don't know?

                         24                  A.         No.


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                       8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 46 of 108 PageID #:1081

                                                            cmsreporters@comcast.net

                                                                                                      Page 12
                           1                 Q.         Okay.        Did Eddie Bradley ever

                           2       investigate any members of the Village Board to

                           3       your knowledge?

                           4                 A.         Not to my knowledge.

                           5                 Q.         Did Mr. Bradley ever investigate any

                           6       members of the police department?

                           7                 A.         Yes.

                           8                 Q.         Do you recall who he investigated?

                           9                 A.         I don't remember.

                         10                  Q.         Do you remember why he investigated

                         11        them?

                         12                  A.         No.

                         13                  Q.         Is it offensive for someone to falsely

                         14        state someone failed to perform the duties of

                         15        his office?

                         16                             MR. LANZITO:        Objection, form,

                         17        foundation.                You may answer.

                         18                             THE WITNESS:       Repeat the question,

                         19        please.

                         20                             MR. MORAN:       Can you repeat it,

                         21        Ms. Court Reporter?

                         22                                     (Question read.)

                         23                             MR. LANZITO:        You may answer.

                         24                             THE WITNESS:       In my opinion, yes.


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                             8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 47 of 108 PageID #:1082

                                                            cmsreporters@comcast.net

                                                                                                    Page 13
                           1

                           2       BY MR. MORAN:

                           3                 Q.         Would you agree that falsely saying a

                           4       person was fired because he lacked integrity

                           5       was offensive?

                           6                            MR. LANZITO:      Same objections.   You

                           7       may answer.

                           8                            THE WITNESS:     I want to make sure I

                           9       hear the question right.

                         10                                     Mrs. Court Reporter, please give

                         11        me a rewind on that.

                         12                                     (Question read.)

                         13                             THE WITNESS:     Yes.

                         14        BY MR. MORAN:

                         15                  Q.         Mayor, would you agree that falsely

                         16        saying someone was fired because he was a

                         17        criminal is offensive?

                         18                  A.         Yes.

                         19                  Q.         Did you ever hear of Seaway Bank?

                         20                  A.         Yes.

                         21                  Q.         Do you know where it is located?

                         22                  A.         There is a branch, if I'm not

                         23        mistaken, on 87th Street in Chicago still

                         24        existing.


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                           8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 48 of 108 PageID #:1083

                                                            cmsreporters@comcast.net

                                                                                                           Page 14
                           1                 Q.         Did they have more branches at one

                           2       time?

                           3                 A.         At one time.

                           4                 Q.         Do you know if the Village or the

                           5       Mayor at the time of Mr. Bradley's termination

                           6       retained accounts at Seaway Bank?

                           7                            MR. LANZITO:          Objection, form,

                           8       relevance.               You may answer.

                           9                            THE WITNESS:         What is the question

                         10        again?

                         11                                     (Question read.)

                         12                             THE WITNESS:         I heard retained

                         13        accounts.              You kind of went in and out.          I

                         14        didn't hear the full question.

                         15        BY MR. MORAN:

                         16                  Q.         Oh.          Did the Village or the Mayor,

                         17        when Chief Bradley was about to be terminated,

                         18        have accounts at Seaway Bank?

                         19                  A.         I don't know.

                         20                  Q.         Okay.         Who would know?

                         21                  A.         The Mayor and the Finance Department.

                         22                             MR. LANZITO:          The former Mayor, you

                         23        mean?

                         24                             THE WITNESS:         Yes.   The former Mayor,


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                                  8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 49 of 108 PageID #:1084

                                                            cmsreporters@comcast.net

                                                                                                      Page 15
                           1       yes.

                           2       BY MR. MORAN:

                           3                 Q.         That would be Mayor Covington?

                           4                 A.         Correct.

                           5                 Q.         And the Finance Department, who was

                           6       running Finance at the time, do you know?

                           7                 A.         I don't remember but Jacelia Kelly was

                           8       there during that tenure and she is still

                           9       currently there.

                         10                             MR. LANZITO:        Can you please spell

                         11        that name?

                         12                             THE WITNESS:       I will do my best to

                         13        spell it correctly.                  It is J A C L I A and the

                         14        last name is Kelly, K E L L Y.

                         15        BY MR. MORAN:

                         16                  Q.         Do you know if Chief Bradley

                         17        investigated any Village accounts at Seaway

                         18        Bank?

                         19                  A.         I'm not sure.

                         20                  Q.         Okay.        You may have heard something to

                         21        that effect but you really don't remember?

                         22                             MR. LANZITO:        Is that a yes?   I'm

                         23        sorry I didn't hear.

                         24                             THE WITNESS:       I don't remember.


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                             8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 50 of 108 PageID #:1085

                                                            cmsreporters@comcast.net

                                                                                                      Page 16
                           1

                           2       BY MR. MORAN:

                           3                 Q.         Okay.        Are you aware of any stolen

                           4       vehicles placed into storage by the Village?

                           5                 A.         Yes.

                           6                 Q.         Okay.        Was there an investigation of

                           7       those vehicles?

                           8                 A.         I would believe so.

                           9                 Q.         Do you know who conducted that

                         10        investigation?

                         11                  A.         I guess it would be the police

                         12        department.

                         13                  Q.         So it could have been Mr. Bradley, is

                         14        that correct?

                         15                  A.         Correct.

                         16                  Q.         Okay.        Do you have any knowledge of

                         17        the results of that investigation?

                         18                  A.         I don't know the results.

                         19                  Q.         Do you recall the Village trustee

                         20        accused of pistol whipping his son?

                         21                             MR. LANZITO:        Objection, form.   Who

                         22        is his son, who is his?

                         23        BY MR. MORAN:

                         24                  Q.         The question is are you aware of a


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                             8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 51 of 108 PageID #:1086

                                                            cmsreporters@comcast.net

                                                                                                     Page 17
                           1       Village trustee who was accused of pistol

                           2       whipping his son while Eddie Bradley was Police

                           3       Chief?

                           4                 A.         I'm unaware.

                           5                 Q.         You don't know anything about that any

                           6       investigation or any of the circumstances, is

                           7       that correct?

                           8                 A.         Correct.

                           9                 Q.         Okay.        Were you aware that Bradley was

                         10        asked to remove files concerning this incident?

                         11                  A.         No.

                         12                             MR. LANZITO:        Just objection, form,

                         13        vague as to that last question.                  Answer can

                         14        stand.

                         15        BY MR. MORAN:

                         16                  Q.         Did Chief Bradley ever express

                         17        concerns to you about what he believed to be

                         18        violations of federal and state law?

                         19                  A.         Yes.

                         20                  Q.         Do you recall what he was complaining

                         21        about?

                         22                  A.         I don't remember the specifics.

                         23                  Q.         Do you know if he expressed these

                         24        concerns to anyone else?


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                            8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 52 of 108 PageID #:1087

                                                            cmsreporters@comcast.net

                                                                                                        Page 18
                           1                 A.         Yes, Trustee Keith Griffin and myself.

                           2                 Q.         Is that G R I F F I N?

                           3                 A.         I want to say yes.

                           4                 Q.         Mayor, do you have any recollection of

                           5       what federal or state law Mr. Bradley was

                           6       referring to?

                           7                 A.         I don't recollect.

                           8                 Q.         Did Chief Bradley also mention he

                           9       thought there might be violations of Village

                         10        policy?

                         11                  A.         Yes.

                         12                  Q.         Do you recall what policy violations

                         13        he was talking about?

                         14                  A.         No, it has been awhile.          No, I don't.

                         15                  Q.         Do you know if Chief Bradley was ever

                         16        told by then Mayor Covington to cease any of

                         17        his investigations?

                         18                  A.         It is possible.

                         19                  Q.         Do you have any recollection of the

                         20        circumstances?

                         21                  A.         No.

                         22                  Q.         No.          Okay.   Do you have any knowledge

                         23        as to whether any Village trustee or Village

                         24        employee told Eddie Bradley to cease any


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                               8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 53 of 108 PageID #:1088

                                                            cmsreporters@comcast.net

                                                                                                       Page 19
                           1       investigations?

                           2                 A.         I'm unaware.

                           3                            MR. MORAN:       If I could have a moment

                           4       here.

                           5                                    (Recess.)

                           6       BY MR. MORAN:

                           7                 Q.         Mayor, do you recall who, if anyone,

                           8       Eddie Bradley mentioned he thought was

                           9       violating Village policy or state or federal

                         10        laws?

                         11                  A.         Yes.

                         12                  Q.         And who was that?

                         13                  A.         Current chief, our current Chief of

                         14        Police.

                         15                  Q.         What is their name?

                         16                  A.         Chief Wilson.

                         17                  Q.         Do you have a first name?

                         18                  A.         Deborah.

                         19                  Q.         Did he mention anyone else?

                         20                  A.         Potentially, yes.

                         21                  Q.         What do you mean by potentially?

                         22                  A.         I said yes.

                         23                  Q.         Okay.        Who else did he mention?

                         24                  A.         The Public Works Director that was the


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                              8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 54 of 108 PageID #:1089

                                                            cmsreporters@comcast.net

                                                                                                     Page 20
                           1       Director at that time.

                           2                 Q.         Who was that?

                           3                 A.         Jerry Townsend.

                           4                 Q.         Okay.        Anybody else?

                           5                 A.         There might have been one other

                           6       person.            I just can't remember who it was.

                           7       Wash those hands now.

                           8                            MR. LANZITO:       Allergies aren't

                           9       contagious.

                         10        BY MR. MORAN:

                         11                  Q.         After Mr. Bradley was fired do you

                         12        know if the Village refused to make any

                         13        payments to him for wages?

                         14                  A.         I'm not sure, but I would believe so.

                         15                  Q.         They refused to pay?

                         16                  A.         Correct.

                         17                  Q.         And is it correct the Village, to your

                         18        knowledge, has never paid Mr. Bradley any

                         19        severance?

                         20                  A.         To my knowledge.

                         21                             MR. LANZITO:        Foundation.   You can

                         22        answer.

                         23                             THE WITNESS:       To my knowledge.

                         24        BY MR. MORAN:


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                            8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 55 of 108 PageID #:1090

                                                            cmsreporters@comcast.net

                                                                                                       Page 21
                           1                 Q.         That's correct?

                           2                 A.         Yes.

                           3                 Q.         Okay.        Have you spoken to Eddie Ray

                           4       Bradley since he was fired?

                           5                 A.         He is my neighbor.       I see him in

                           6       passing.

                           7                 Q.         Okay.        Has the Village ever formally

                           8       asked Eddie Ray Bradley to return as Police

                           9       Chief?

                         10                  A.         Not to my knowledge.

                         11                  Q.         Do you have any knowledge of any

                         12        trustee or Village employee asking Mr. Bradley

                         13        to come back as Police Chief?

                         14                  A.         Yes.

                         15                  Q.         And did a trustee ask him to come back

                         16        or a Village employee?

                         17                  A.         A trustee.

                         18                  Q.         And who was that?

                         19                  A.         Trustee Keith Ray Griffin.

                         20                  Q.         That is the gentleman you were in

                         21        Las Vegas with?

                         22                  A.         Yes, trustee, correct.

                         23                  Q.         Did anything come of that?

                         24                  A.         No.


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                              8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 56 of 108 PageID #:1091

                                                            cmsreporters@comcast.net

                                                                                                      Page 22
                           1                 Q.         Was that due to Bradley or the

                           2       Village?

                           3                            MR. LANZITO:         Objection, form, calls

                           4       for speculation.                   You may answer.

                           5                            THE WITNESS:        It would definitely be

                           6       the Village.                 It wouldn't be on Chief Bradley.

                           7       BY MR. MORAN:

                           8                 Q.         To your knowledge has there been a

                           9       federal investigation of the Village in the

                         10        last ten years?

                         11                  A.         Yes.

                         12                  Q.         Who conducted such an investigation,

                         13        why and what were the results, if any?

                         14                  A.         Yes.         It would be the Federal Bureau

                         15        of Investigation, and if I'm not mistaken it is

                         16        still an ongoing investigation.                   And it was --

                         17        it was for $14.9 million missing from the TIFF

                         18        accounts.

                         19                  Q.         From a TIFF account?

                         20                  A.         Correct.

                         21                  Q.         So that investigation has not

                         22        resolved, it is continuing to this day?

                         23                  A.         As far as I know.

                         24                             MR. MORAN:        Okay.   Let's take five


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                             8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 57 of 108 PageID #:1092

                                                            cmsreporters@comcast.net

                                                                                                      Page 23
                           1       minutes.             I have to grab some other paperwork.

                           2                            THE WITNESS:        Okay.

                           3                            MR. MORAN:     Is it okay, Ms. Court

                           4       Reporter?

                           5                            THE REPORTER:       Yes.

                           6                            MR. MORAN:     Dominick, any problem?

                           7                            MR. LANZITO:        No.   We will come back

                           8       at 10:30.

                           9                            MR. MORAN:     Okay.      Thanks.

                         10                                     (Recess.)

                         11                                          (Deposition Exhibit No. 1-10

                         12                                          referred to.)

                         13                             MR. LANZITO:        Mayor Roudez, I'm going

                         14        to blow it up a little, Mayor.                   Let me know

                         15        when you are able to read it.

                         16                             THE WITNESS:        Okay.   I'm able to read

                         17        it.

                         18                             MR. LANZITO:        Everyone see the

                         19        contract.

                         20                             MR. MORAN:      I see it now.

                         21                             MR. LANZITO:        Tell me where you want

                         22        to go, John, and I will navigate.

                         23        BY MR. MORAN:

                         24                  Q.         Mayor, have you ever seen this


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                             8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 58 of 108 PageID #:1093

                                                            cmsreporters@comcast.net

                                                                                                     Page 24
                           1       document before, this contract with Eddie

                           2       Bradley?

                           3                 A.         Yes.

                           4                 Q.         And when did you first see it?

                           5                 A.         When we voted on it to approve him as

                           6       chief.

                           7                 Q.         Okay.        And is the language in this

                           8       contract similar to the language in the

                           9       contract with the present Chief of Police?

                         10                             MR. LANZITO:        Objection, foundation.

                         11        You may answer.

                         12                             THE WITNESS:       Yes.   It is different.

                         13                             MR. MORAN:       Okay.

                         14                             THE WITNESS:       She has a probationary

                         15        one-year contract, this is completely

                         16        different.

                         17        BY MR. MORAN:

                         18                  Q.         I see.       Does the present chief have a

                         19        severance clause in their contract?

                         20                  A.         I'm not sure.

                         21                  Q.         Okay.        Do you know if the present

                         22        police chief has a termination without cause

                         23        clause as appears on page 4 of this contract

                         24        with Eddie Bradley?


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                            8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 59 of 108 PageID #:1094

                                                            cmsreporters@comcast.net

                                                                                                        Page 25
                           1                 A.         I have not been able to see page 4

                           2       yet.

                           3                 Q.         Okay.        There it is.

                           4                 A.         What is the question?

                           5                 Q.         Okay.        The question is, does the

                           6       present police chief have a similar clause?

                           7                            MR. LANZITO:        Objection to confusion.

                           8       You may answer.

                           9                            THE WITNESS:       I would believe so.

                         10        BY MR. MORAN:

                         11                  Q.         This clause includes language that

                         12        says that he is to receive, if he is terminated

                         13        without cause, a fee equal to four months

                         14        salary, is that correct?

                         15                             MR. LANZITO:        Objection, the document

                         16        speaks for itself.                  You can answer.

                         17                             THE WITNESS:       I mean that's what I am

                         18        reading.

                         19        BY MR. MORAN:

                         20                  Q.         Okay.        Doesn't it -- it further says

                         21        that the fee shall be paid if the term of the

                         22        contract is declared to be unenforceable, is

                         23        that correct?

                         24                             MR. LANZITO:        Objection.


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                               8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 60 of 108 PageID #:1095

                                                            cmsreporters@comcast.net

                                                                                                         Page 26
                           1                            THE WITNESS:         That's what it reads.

                           2       BY MR. MORAN:

                           3                 Q.         Now, I want to shift to Exhibit

                           4       Number 9, do you have that one?

                           5                            MR. LANZITO:            This is the Oscar Brown

                           6       letter.

                           7                            MR. MORAN:          Yes.

                           8                            MR. LANZITO:            Let me find it.

                           9                            MR. MORAN:          At the bottom it has

                         10        Exhibit 3 from 2016 on it.

                         11                             MR. LANZITO:            I'm sharing it right

                         12        now number 9.                     Can you read that, Mayor?

                         13                             THE WITNESS:         Let's see.

                         14                             MR. LANZITO:            I blew it up a little

                         15        bit, I enlarged it.

                         16                             MR. MORAN:          Let me know when you have

                         17        completed reading it.

                         18                             THE WITNESS:         What about the letter?

                         19        BY MR. MORAN:

                         20                  Q.         Do you recognize the document, the

                         21        letter?

                         22                  A.         Oh, yes.         Yes.

                         23                  Q.         And you are listed as one of the

                         24        people who would have received it?


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                                8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 61 of 108 PageID #:1096

                                                            cmsreporters@comcast.net

                                                                                                       Page 27
                           1                 A.         Yes.

                           2                 Q.         And do you recall receiving it at that

                           3       time?

                           4                 A.         Yes.

                           5                 Q.         Okay.        Were you on the Board at

                           6       University Park, do you recall the Board asking

                           7       the mayor, Mayor Covington to resign?

                           8                 A.         I did, yes.

                           9                 Q.         And Mayor Roudez, why did you ask

                         10        Mayor Covington to resign?

                         11                  A.         The inappropriate transferring of

                         12        TIFF funds into the general fund without Board

                         13        approval, without anyone knowing, besides a few

                         14        privileged people.                  It was completely immoral,

                         15        illegal and should not have happened and it

                         16        causes great harm and danger.

                         17                  Q.         And this was -- when did you introduce

                         18        your statement to the Board?

                         19                  A.         I don't remember exactly.

                         20                  Q.         Could it have been in 2017?

                         21                  A.         It is hard to remember.

                         22                  Q.         Okay.

                         23                  A.         But it wasn't announced to the Board.

                         24        It was actually done during a press conference.


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                              8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 62 of 108 PageID #:1097

                                                            cmsreporters@comcast.net

                                                                                                       Page 28
                           1                 Q.         Okay.        And your concern was with the

                           2       sudden loss of a significant amount of money in

                           3       TIFF funds, is that right?

                           4                 A.         The manipulation of money and moving

                           5       money without Board approval and without Board

                           6       knowledge, absolutely.

                           7                 Q.         Mayor Roudez, when you reviewed the

                           8       complaint for today, there were two -- there

                           9       were several exhibits attached to the

                         10        complaint, Exhibits A and B are two letters to

                         11        Eddie Bradley signed by Mayor -- then Mayor

                         12        Covington, do you recall that?

                         13                  A.         I would like to see the exhibit,

                         14        insure that is the same one I saw yesterday.

                         15                             MR. MORAN:       Okay.   Dominick, do you

                         16        have those or Carol.

                         17                             MR. LANZITO:        Grabbing them right

                         18        now.

                         19                             MR. MORAN:       This is the complaint,

                         20        Exhibits A and B.

                         21                             MR. LANZITO:        Do you want me to

                         22        scroll down to the exhibits?                  Here is

                         23        Exhibit A.

                         24                             THE WITNESS:       What's the question


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                              8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 63 of 108 PageID #:1098

                                                            cmsreporters@comcast.net

                                                                                                          Page 29
                           1       regarding this?

                           2       BY MR. MORAN:

                           3                 Q.         My question to you is, are you aware,

                           4       besides Exhibits A and B attached to the

                           5       complaint, are you aware of any other letters

                           6       that were sent to Eddie Ray Bradley from the

                           7       Village?

                           8                 A.         No.

                           9                 Q.         Do you know a woman named Maxine

                         10        Jackson?

                         11                  A.         I know the name.          I don't know the

                         12        person.

                         13                  Q.         Okay.         Do you recall a Maxine Jackson

                         14        being Director of Human Resources for the

                         15        Village back in May and June of 2015?

                         16                  A.         Yes, she had some position with the

                         17        Village.

                         18                  Q.         Do you have any recollection as to how

                         19        her name was put in as Director of Human

                         20        Resources?

                         21                  A.         My predecessor.

                         22                  Q.         Who was your predecessor?

                         23                  A.         Mayor Covington.

                         24                  Q.         Oh.          Okay.   Do you know who the


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                                 8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 64 of 108 PageID #:1099

                                                            cmsreporters@comcast.net

                                                                                                    Page 30
                           1       Village attorney was in May and June of 2015?

                           2                 A.         Oh, my goodness you are really testing

                           3       my memory.

                           4                 Q.         Yes.

                           5                 A.         Yes. I really don't remember, at one

                           6       time it was Odelson & Sterk.

                           7                 Q.         Do you remember a woman named Felicia

                           8       Frazier?

                           9                 A.         Odelson & Sterk.

                         10                  Q.         She is with them.   Okay.   Do you

                         11        recall any lawyers named Montana or Welch?

                         12                  A.         Yes.

                         13                  Q.         Would they have been Village attorneys

                         14        around the same time?

                         15                  A.         I would say that Montana and Welch

                         16        came on under Bola Delano as Village Manager.

                         17                  Q.         Oh, and when she left did they leave

                         18        with her?

                         19                  A.         No.

                         20                  Q.         Did they stay longer or shorter than

                         21        Delano?

                         22                  A.         When you say "they" are you speaking

                         23        of the lawfirm?

                         24                  Q.         Yes.


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                           8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 65 of 108 PageID #:1100

                                                            cmsreporters@comcast.net

                                                                                                     Page 31
                           1                 A.         The lawfirm did not leave until I

                           2       became mayor.

                           3                 Q.         Okay.        And you already told us when

                           4       you became mayor?

                           5                 A.         Yes.

                           6                 Q.         Who did you bring in?

                           7                 A.         The new lawfirm is Ottosen Britz.

                           8                 Q.         Could you spell that?

                           9                 A.         I sure can.       O T T O S E N

                         10        B R I T Z.

                         11                  Q.         Are they still lawyers for the Village

                         12        in the day-to-day activities?

                         13                  A.         Yes.

                         14                             MR. MORAN:       Why don't we take 10 more

                         15        minutes, and I will see if I have any more

                         16        questions, and then we will go back and wrap it

                         17        up.

                         18                             MR. LANZITO:        Okay.

                         19                                     (Recess.)

                         20        BY MR. MORAN:

                         21                  Q.         Okay.        Back on the record.

                         22                                     Okay.   Mayor Roudez, you continue

                         23        to be under oath, you are aware of that,

                         24        correct?


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                            8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 66 of 108 PageID #:1101

                                                            cmsreporters@comcast.net

                                                                                                           Page 32
                           1                 A.         Correct.

                           2                 Q.         Okay.         I would like to go back to that

                           3       employment contract for a minute.

                           4                                    Do you have that first page of

                           5       the contract we can show Mayor Roudez?

                           6                            MR. LANZITO:          Yes, I will pull it up

                           7       right now.

                           8       BY MR. MORAN:

                           9                 Q.         Okay.         Mayor, you see those "WHEREAS"

                         10        clauses on the first page?

                         11                  A.         Yes.         "WHEREAS, the management and

                         12        operation of a Police..."

                         13                                          Give me one second, please.     One

                         14        second.

                         15                             MR. LANZITO:          I can scroll down.       I

                         16        think there might be one missing.

                         17                             MR. MORAN:          Yes, there is.

                         18                             THE WITNESS:         Yes. Okay.

                         19        BY MR. MORAN:

                         20                  Q.         Mayor, there are five WHEREAS clauses

                         21        on the first page of the contract and there is

                         22        another one on the top of the second page.

                         23                                     When you finish reading those let

                         24        me know?


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                                 8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 67 of 108 PageID #:1102

                                                            cmsreporters@comcast.net

                                                                                                      Page 33
                           1                            MR. LANZITO:        The top of the second

                           2       page, Mayor, I will go to the first page, if

                           3       you have to.

                           4                            THE WITNESS:       Okay.

                           5                            MR. LANZITO:        That is the second,

                           6       this is the first page, if you can read that.

                           7                            THE WITNESS:       Okay.    I'm ready to go

                           8       to the next page.

                           9                            MR. MORAN:        Okay.

                         10                             THE WITNESS:       Unless you have

                         11        questions on Page 1.

                         12                             MR. MORAN:       I just have a couple of

                         13        general questions about the WHEREAS clauses.

                         14                             THE WITNESS:       Okay.    Okay.

                         15                             MR. LANZITO:        Okay.   John, go ahead

                         16        and ask your questions.

                         17        BY MR. MORAN:

                         18                  Q.         Okay.        I wanted to clarify, what is

                         19        your understanding of these WHEREAS clauses?

                         20                             MR. LANZITO:        Objection, calls for a

                         21        legal conclusion.                  You may answer, Mayor.

                         22                             THE WITNESS:       What is my understanding

                         23        of them?

                         24        BY MR. MORAN:


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                             8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 68 of 108 PageID #:1103

                                                            cmsreporters@comcast.net

                                                                                                      Page 34
                           1                 Q.         Yes.

                           2                 A.         It is customary in a resolution of an

                           3       ordinance form.                   They have meaning to them.

                           4       And the meaning follows behind WHEREAS.

                           5                 Q.         Okay.        And what is the general meaning

                           6       of these WHEREAS clauses?

                           7                            MR. LANZITO:         Same objection.   It

                           8       calls for a legal conclusion.                   You may answer,

                           9       Mayor.

                         10                             THE WITNESS:        What is the question?

                         11        What is the meaning of them?

                         12        BY MR. MORAN:

                         13                  Q.         Yes.         What are we trying to say about

                         14        Eddie Bradley's contract?

                         15                  A.         Oh, it says we have a good guy, a good

                         16        chief, and we don't plan on having a rotating

                         17        Chief of Police, so it speaks for itself.

                         18                  Q.         Does it also indicate that under its

                         19        home rule powers, it can employ a Police Chief

                         20        which extends beyond the term of a Mayor or

                         21        Village Manager?

                         22                  A.         That's just --

                         23                  Q.         I'm asking, does it say that?

                         24                  A.         Point to me and show me where.


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                             8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 69 of 108 PageID #:1104

                                                            cmsreporters@comcast.net

                                                                                                      Page 35
                           1                 Q.         The last WHEREAS on the first page.

                           2                 A.         What about this last page, Mr. Moran?

                           3                 Q.         Oh, the WHEREAS clause states --

                           4                 A.         "WHEREAS, the Corporate Authorities of

                           5       the Village of University Park believe that,

                           6       under its home rule powers, it can employ a

                           7       Police Chief to serve for a period of time

                           8       which extends beyond the term of a Mayor or

                           9       even that of a Village Manager."

                         10                  Q.         Okay.        That's what it says.   Thank

                         11        you.

                         12                                     When you were Village trustee,

                         13        Mayor Roudez, did you have any seminars or

                         14        training for the position?

                         15                  A.         Oh, yes, I stayed in training.        It is

                         16        on-the-job training.                  It is all in the

                         17        conferences.                 Absolutely.

                         18                  Q.         So it was a constant training during

                         19        your period as trustee, is that what you mean?

                         20                  A.         Yes.

                         21                  Q.         Okay.        To your knowledge who does the

                         22        hiring and firing of Village employees?

                         23                  A.         The Village Manager.

                         24                  Q.         Do you know when Ms. Delano started on


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                             8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 70 of 108 PageID #:1105

                                                            cmsreporters@comcast.net

                                                                                                      Page 36
                           1       as Village Manager?

                           2                 A.         No, I was out of town during that

                           3       process.

                           4                 Q.         Okay.        That was the same process that

                           5       terminated Lafayette Linear, to your knowledge?

                           6                            MR. LANZITO:        Objection.   You may

                           7       answer.

                           8                            THE WITNESS:       I would guess so.

                           9       BY MR. MORAN:

                         10                  Q.         You were out of town for the whole

                         11        thing?

                         12                  A.         Correct.

                         13                  Q.         Okay.        What is a Village Trustee's

                         14        function?

                         15                  A.         Legislative.

                         16                  Q.         Did you ever have occasion to speak

                         17        with Lafayette Linear?

                         18                  A.         Yes.

                         19                  Q.         Do you recall him ever telling you

                         20        that Mayor, former Mayor Covington asked him to

                         21        fire Chief Bradley?

                         22                  A.         Yes.

                         23                  Q.         Was it a single conversation or was

                         24        there a series of conversations?


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                             8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 71 of 108 PageID #:1106

                                                            cmsreporters@comcast.net

                                                                                                     Page 37
                           1                 A.         It was probably just once he mentioned

                           2       it.

                           3                 Q.         Did he say why the Mayor wanted

                           4       Bradley fired?

                           5                 A.         He didn't.

                           6                 Q.         He did?

                           7                 A.         He did not say.

                           8                 Q.         Okay.        Were Linear and Bradley both

                           9       terminated within a week of each other or

                         10        simultaneously?

                         11                  A.         I'm not sure.       Again this all happened

                         12        when I was out of town.                  When we --

                         13                  Q.         Were you aware of the fact that Mayor

                         14        Covington sent Bradley a letter placing him on

                         15        administrative leave?

                         16                  A.         I found out, yes.

                         17                  Q.         And the letter states that he is on

                         18        administrative leave pending further review by

                         19        the Board, do you recall that?

                         20                  A.         Yes.

                         21                  Q.         Okay.        As a city member of the Board

                         22        of Trustees was there a review by the Board of

                         23        that termination?

                         24                  A.         No.


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                            8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 72 of 108 PageID #:1107

                                                            cmsreporters@comcast.net

                                                                                                    Page 38
                           1                 Q.         Is it correct Chief Bradley was first

                           2       hired at an emergency meeting held on a

                           3       Saturday morning and a vote was taken and

                           4       passed?

                           5                 A.         I don't remember exactly when.

                           6                 Q.         Is there anything inaccurate though

                           7       about what I read, questioned you about, do you

                           8       recall did Mayor Covington show up for a vote

                           9       on Eddie Bradley?

                         10                  A.         I don't know.   I was out of town

                         11        during that process.

                         12                  Q.         No, I'm talking about the hiring

                         13        process.

                         14                  A.         Restate the question.

                         15                  Q.         When Eddie Bradley was first hired,

                         16        was he hired pursuant to an emergency Saturday

                         17        morning meeting?

                         18                  A.         If that what the minutes reflect.       I

                         19        don't remember what the process was.

                         20                  Q.         Do you recall Mayor Covington

                         21        attending the meeting, whatever the process

                         22        was?

                         23                  A.         Oh, you are really testing my memory.

                         24        I don't remember.


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                          8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 73 of 108 PageID #:1108

                                                            cmsreporters@comcast.net

                                                                                                     Page 39
                           1                 Q.         Would it be correct to say at the next

                           2       official Board meeting there was a vote taken

                           3       to make Bradley chief, which was sworn and

                           4       passed?

                           5                 A.         What date was that?

                           6                 Q.         That would be the Tuesday following

                           7       the Saturday morning when he was hired at this

                           8       emergency hearing, so it would be in 2013?

                           9                 A.         Okay.        If that's what the records say.

                         10        They would know better than I.

                         11                  Q.         Okay.        Do you recall Mayor Covington

                         12        voting no to Bradley being made Chief of

                         13        Police?

                         14                  A.         I don't recall.

                         15                  Q.         Is Village trustee training mandatory

                         16        by state law?

                         17                  A.         No.

                         18                  Q.         Do you know why Mayor Covington fired

                         19        or moved to fire Chief Bradley?

                         20                  A.         No.

                         21                  Q.         Did you receive any training or

                         22        seminars for the Office of Mayor?

                         23                  A.         I go to the same seminars for mayor as

                         24        I did for trustee, yes.


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                            8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 74 of 108 PageID #:1109

                                                            cmsreporters@comcast.net

                                                                                                     Page 40
                           1                 Q.         Is that training mandatory?

                           2                 A.         No.

                           3                 Q.         Okay.        What are your functions and

                           4       duties as mayor, you said legis --

                           5                 A.         I'm the Chief Executive Officer of the

                           6       community.

                           7                 Q.         And what does that mean?

                           8                 A.         That means I am the official signor.

                           9       I am in charge of basically everything except

                         10        the day-to-day operations.

                         11                  Q.         They are done by the Village Manager?

                         12                  A.         Yes.

                         13                  Q.         Do you know what the procedure is to

                         14        fire a police officer?

                         15                  A.         To fire a police officer, if I am not

                         16        mistaken it goes through the Police & Fire

                         17        Commission.

                         18                  Q.         And they have to deal with it?

                         19                  A.         Yes.

                         20                  Q.         When you and Linear talked about the

                         21        termination of Bradley, what did he tell you

                         22        besides that she wants to terminate him?

                         23                  A.         I'm not doing that.

                         24                  Q.         Linear said he is not going to fire


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                            8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 75 of 108 PageID #:1110

                                                            cmsreporters@comcast.net

                                                                                                     Page 41
                           1       him?

                           2                 A.         Correct.

                           3                 Q.         Anything else said that you recall?

                           4                 A.         No.

                           5                 Q.         Okay.        Now the functions and duties of

                           6       the Fire & Police Board, they do the

                           7       procedures -- they create the procedures,

                           8       follow the process to terminate a police

                           9       officer under state law?

                         10                  A.         Yes, and just for the record they only

                         11        do police officers.                  The Chief of Police comes

                         12        under a different jurisdiction.                  And that's

                         13        totally under the Village Manager.

                         14                  Q.         Do you know a person named Irma

                         15        Holloway or know of?

                         16                  A.         I know of Irma Holloway, correct.

                         17                  Q.         Who is she?

                         18                  A.         She is a principal of a firm that the

                         19        Village did business with when I was a trustee.

                         20                  Q.         What kind of business?

                         21                  A.         Financials, auditing.

                         22                  Q.         Where is she now?

                         23                  A.         Good question.

                         24                  Q.         Don't know?


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                            8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 76 of 108 PageID #:1111

                                                            cmsreporters@comcast.net

                                                                                                    Page 42
                           1                 A.         No.

                           2                 Q.         Did Linear tell you why he would not

                           3       fire Bradley?

                           4                 A.         Yes, he did.     Yes, he did.

                           5                 Q.         What did he say, if you recall?

                           6                 A.         He said:     There is absolutely no way

                           7       I'm going to fire him.                He is a fantastic

                           8       chief.           And he is doing a get job.       And I'm not

                           9       playing into the politics.

                         10                  Q.         Do you know how much money was paid to

                         11        Irma Holloway's organization by the Village?

                         12                  A.         I don't know.

                         13                  Q.         Have you heard it could be more than

                         14        $300,000?

                         15                  A.         Yes.

                         16                             MR. LANZITO:     Objection, foundation.

                         17        BY MR. MORAN:

                         18                  Q.         No one knows where Irma Holloway is

                         19        now, is that correct?

                         20                  A.         I don't.

                         21                  Q.         You don't know.     Okay.

                         22                                     Do you know if Mayor Covington's

                         23        laptop was taken by the FBI?

                         24                  A.         Yes.


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                           8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 77 of 108 PageID #:1112

                                                            cmsreporters@comcast.net

                                                                                                     Page 43
                           1                 Q.         Do you know if it is presently -- you

                           2       said is ongoing?

                           3                 A.         Yes.

                           4                 Q.         Is that investigation -- is that

                           5       investigation for corruption, gross

                           6       mismanagement?

                           7                            MR. LANZITO:        Objection, foundation,

                           8       based on knowledge.                  You may answer.

                           9                            THE WITNESS:       There are probably a lot

                         10        of reasons, and I'm not sure exactly what the

                         11        main focus of the investigation is or was.

                         12        BY MR. MORAN:

                         13                  Q.         Okay.        Did you and Trustee Griffin go

                         14        with Mr. Bradley to the Will County State's

                         15        Attorney's Office?

                         16                  A.         Yes.

                         17                  Q.         And did the subject of corruption and

                         18        gross mismanagement come up?

                         19                  A.         Yes.

                         20                  Q.         And did Chief Bradley indicate he was

                         21        investigating that?

                         22                  A.         Yes.

                         23                  Q.         It correct that Bradley was fired a

                         24        few months after that discussion?


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                            8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 78 of 108 PageID #:1113

                                                            cmsreporters@comcast.net

                                                                                                        Page 44
                           1                 A.         When was it that we went to the

                           2       State's Attorney's Office?

                           3                 Q.         That's what I am asking you, I

                           4       can't --

                           5                 A.         Oh, I'm not going to guess.        All

                           6       depends on when it was, when did we go to the

                           7       State's Attorney's Office, I don't remember the

                           8       dates or the time, but I would say it was

                           9       shortly thereafter, sometime down the line.

                         10                  Q.         Okay.        Do you what a whistleblower is?

                         11                  A.         Yes.

                         12                  Q.         What is a whistleblower?

                         13                             MR. LANZITO:        Objection, calls for a

                         14        legal conclusion.                  You may answer.

                         15                             THE WITNESS:       That is somebody who is

                         16        asking for protection for reporting criminal

                         17        activities.

                         18        BY MR. MORAN:

                         19                  Q.         Okay.        Thank you.   Mayor Roudez, to

                         20        your knowledge how long has the Village been

                         21        millions in the red?

                         22                             MR. LANZITO:        Objection, foundation,

                         23        form.         You may answer.

                         24                             THE WITNESS:       I'm just trying to think


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                               8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 79 of 108 PageID #:1114

                                                            cmsreporters@comcast.net

                                                                                                     Page 45
                           1       of -- it is hard to say because you get people

                           2       in there that play with the numbers.                  So it is

                           3       actually hard to say what is solid and what's

                           4       fiction.

                           5                                    So they have been operating in

                           6       the red for a little while.                   I'm working on

                           7       getting us out of the red.

                           8                                    We are working in the right

                           9       direction finally.

                         10        BY MR. MORAN:

                         11                  Q.         Was the Village in the red when Vivian

                         12        Covington was Mayor?

                         13                  A.         Yes.

                         14                  Q.         And so you have been trying to

                         15        rehabilitate Village finances when you took

                         16        office, is that correct?

                         17                             MR. LANZITO:       Objection to the form

                         18        of the question.                  You may answer.

                         19                             THE WITNESS:      Yes.

                         20        BY MR. MORAN:

                         21                  Q.         When you became Mayor were there any

                         22        audits in existence that you reviewed?

                         23                  A.         There were no audits up-to-date and

                         24        when I got in office I was told there were


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                            8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 80 of 108 PageID #:1115

                                                            cmsreporters@comcast.net

                                                                                                        Page 46
                           1       audits done, but after going a little further

                           2       and getting into the Village Manager we just

                           3       approved '14, '15 and '16 in anticipation of

                           4       passing '17 at the next council meetings and

                           5       all of the others will be up-to-date by October

                           6       of this year.                     So nothing was done.   It was a

                           7       ragged house of finances.

                           8                 Q.         Wow.         So you just approved in 2020,

                           9       '14, '15 and '16?

                         10                  A.         That is correct.

                         11                  Q.         Is it true or false that the Village

                         12        paid Irma Holloway about $600,000 for the

                         13        audits and the fiscal audits were never done?

                         14                             MR. LANZITO:          Objection, asked and

                         15        answered.

                         16                             THE WITNESS:         When I was on the Board

                         17        they didn't spend that much money, but my

                         18        understanding is after I lost my election in

                         19        2017 as trustee that they renewed the contract.

                         20        The numbers of that contract that was renewed

                         21        I'm unaware of, but I'm hearing that it was

                         22        over 600,000 bucks.

                         23        BY MR. MORAN:

                         24                  Q.         Do you have a time period that she


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                               8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 81 of 108 PageID #:1116

                                                            cmsreporters@comcast.net

                                                                                                     Page 47
                           1       would have been paid that amount of money or

                           2       was that just when you were out of office?

                           3                            MR. LANZITO:        You can answer.

                           4                            THE WITNESS:       I was out of office from

                           5       2017 until May of 2019.

                           6       BY MR. MORAN:

                           7                 Q.         So she was paid somewhere in that

                           8       period of time, is that correct?

                           9                 A.         Yes, I wasn't around, so I don't know

                         10        what happened, who got paid, I was on my time

                         11        out.

                         12                  Q.         Any knowledge of the relationship

                         13        between Irma Holloway and Vivian Covington that

                         14        you personally observed?

                         15                  A.         I was gone when all of the good stuff

                         16        went on.

                         17                  Q.         Do you know anything about their

                         18        relationship through Village records?

                         19                  A.         No.

                         20                  Q.         Okay.        Is it correct that Eddie Ray

                         21        Bradley when he was chief gave a copy of his

                         22        investigation file to you and Keith?

                         23                  A.         Yes.

                         24                  Q.         Do you know an individual named Mel


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                            8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 82 of 108 PageID #:1117

                                                            cmsreporters@comcast.net

                                                                                                     Page 48
                           1       Davis?

                           2                 A.         Yes.

                           3                 Q.         Who is he?

                           4                 A.         I don't know who he is, but he was a

                           5       former Chief of Police here in University Park.

                           6                 Q.         Was he the chief immediately before

                           7       Eddie Ray Bradley?

                           8                 A.         I believe that was the one who Chief

                           9       Bradley came behind.

                         10                  Q.         Do you have any knowledge as to

                         11        whether or not Mayor Covington gave Mel Davis a

                         12        $25,00 severance check?

                         13                  A.         I believe so.

                         14                  Q.         You believe she did?

                         15                  A.         Yes.

                         16                  Q.         Do you know why she gave it to him?

                         17                  A.         No.

                         18                  Q.         Was that check voted on by the Village

                         19        Board to your knowledge?

                         20                  A.         I don't recall.

                         21                  Q.         You don't recall it being called for a

                         22        vote, is that what you mean?

                         23                  A.         I don't remember.

                         24                  Q.         Okay.        Was Vivian Covington, was it


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                            8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 83 of 108 PageID #:1118

                                                            cmsreporters@comcast.net

                                                                                                     Page 49
                           1       known that she was upset when Mel Davis was

                           2       fired?

                           3                 A.         Yes.

                           4                            MR. LANZITO:        Objection, speculation,

                           5       known by whom.                    You may answer.

                           6       BY MR. MORAN:

                           7                 Q.         Okay.        Did she indicate why she was

                           8       upset?

                           9                 A.         No.

                         10                  Q.         Do you recall what Mel Davis was fired

                         11        for?

                         12                  A.         No.

                         13                  Q.         You don't recall?

                         14                  A.         I don't.

                         15                  Q.         Okay.        Do you know if Mel Davis was

                         16        given the opportunity to come before the

                         17        Village Board at a regular Board meeting and

                         18        express his concerns about being terminated?

                         19                  A.         For some reason I believe that

                         20        happened, it has been so long ago, charted to

                         21        my head and not my heart, it sounds vaguely

                         22        familiar, he did have the opportunity to

                         23        address the Board.

                         24                  Q.         Okay.        That would be in Board minutes


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                            8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 84 of 108 PageID #:1119

                                                            cmsreporters@comcast.net

                                                                                                      Page 50
                           1       or would that be in executive session?

                           2                 A.         It would be in Board minutes, I would

                           3       assume.

                           4                 Q.         Do you remember one of the reasons

                           5       Covington fired Chief Bradley was in

                           6       retaliation for the Board hiring Mel Davis?

                           7                            MR. LANZITO:        Objection to form,

                           8       speculation.                 You may answer.

                           9                            THE WITNESS:       It is potentially

                         10        possible.

                         11        BY MR. MORAN:

                         12                  Q.         That's why you said the politics of

                         13        the situation?

                         14                  A.         Yes.

                         15                             MR. MORAN:       Dominick, could you show

                         16        Mayor Roudez Exhibit B to the complaint, it is

                         17        the May 6th letter, 2015.

                         18                             MR. LANZITO:        D.

                         19                             MR. MORAN:        It is B.   "B" as in boy.

                         20                  Q.         Okay.        Mayor Roudez, you see this

                         21        letter that was Exhibit B to the complaint?

                         22                  A.         Yes.

                         23                  Q.         This is, I think we talked about this

                         24        earlier, this is a letter notifying Eddie


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                             8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 85 of 108 PageID #:1120

                                                            cmsreporters@comcast.net

                                                                                                      Page 51
                           1       Bradley he is on administrative leave with pay

                           2       pending further review by the Board, is that

                           3       correct?

                           4                 A.         Yes.

                           5                 Q.         Did you ever see this letter before?

                           6                 A.         No.

                           7                 Q.         Okay.        Do you recognize who signed the

                           8       letter?

                           9                 A.         I see it.

                         10                  Q.         Who signed the letter?

                         11                  A.         It says sincerely, Mayor Vivian

                         12        Covington.

                         13                  Q.         It has her signature above Mayor

                         14        Covington?

                         15                  A.         In between sincerely and right above

                         16        her name, correct.

                         17                  Q.         Right.        Okay.   Dominic, could you put

                         18        up Exhibit A?

                         19                             MR. LANZITO:          You mean Exhibit A to

                         20        the complaint?

                         21        BY MR. MORAN:

                         22                  Q.         Yes.         Do you see this letter?

                         23                  A.         I see it.

                         24                  Q.         Okay.        Did you ever see it before?     Or


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                             8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 86 of 108 PageID #:1121

                                                            cmsreporters@comcast.net

                                                                                                     Page 52
                           1       do you recognize it, I should say?

                           2                 A.         No, I haven't seen it.

                           3                 Q.         Okay.        Does it seem to be a letter of

                           4       termination?

                           5                            MR. LANZITO:        Objection, calls for a

                           6       legal conclusion.                  You may answer.

                           7                            THE WITNESS:       It says in the first

                           8       sentence:              "Please be advised that your

                           9       appointment to the office of the Chief of

                         10        Police of the Village of University Park

                         11        terminated as of May 15, 2015."

                         12        BY MR. MORAN:

                         13                  Q.         So the answer to the question it is a

                         14        letter of termination.                  Who signed this letter?

                         15                  A.         As we all see sincerely, Vivian E.

                         16        Covington, Mayor.

                         17                  Q.         Who is listed as Village Manager on

                         18        this letter?

                         19                  A.         Bola Delano.       B O L A   D E L A N O.

                         20                  Q.         On Exhibit B to the complaint, who is

                         21        listed as Village Manager, could you pull that

                         22        one back up, Dominick?

                         23                  A.         Lafayette Linear.

                         24                  Q.         What a difference two days makes?


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                            8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 87 of 108 PageID #:1122

                                                            cmsreporters@comcast.net

                                                                                                        Page 53
                           1                            MR. LANZITO:        Exhibit B is dated

                           2       May 16, 2015 and Exhibit A was dated May 29,

                           3       2015.         Those are Exhibit A and B to the

                           4       complaint.

                           5                            THE WITNESS:       Yes.   L A F A Y E T E

                           6       L I N E A R.

                           7       BY MR. MORAN:

                           8                 Q.         It is between the 16th and the 29th,

                           9       is that correct, Mayor?

                         10                  A.         Yes.

                         11                  Q.         So one is the 16th and the other one

                         12        is May 29th, is that right?

                         13                  A.         Yes.

                         14                  Q.         Okay.        I wanted to go back for a

                         15        second.

                         16                                     When you had a conversation with

                         17        Lafayette Linear about terminating Eddie

                         18        Bradley?

                         19                  A.         Okay.

                         20                  Q.         Besides -- what did Linear say besides

                         21        singing Bradley praises as a police officer?

                         22                  A.         I don't know.       It was just that -- it

                         23        wasn't much of a conversation, just he is not

                         24        doing it, he has no reason to, and we kept on


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                               8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 88 of 108 PageID #:1123

                                                            cmsreporters@comcast.net

                                                                                                      Page 54
                           1       doing what we were doing.

                           2                 Q.         What were you guys doing?

                           3                 A.         Probably just talking about some other

                           4       issues in the community, I don't remember

                           5       that's been so long ago.

                           6                 Q.         Okay.        Do you have any recollection of

                           7       whether Linear mentioned politics at all in

                           8       this conversation with you?

                           9                 A.         I don't have any recollection.

                         10                             MR. MORAN:       Okay.   Let me just take

                         11        two minutes and then I think we will be

                         12        wrapping it up.

                         13                             THE WITNESS:        Okay.

                         14                                     (Recess.)

                         15        BY MR. MORAN:

                         16                  Q.         Okay.        We are back on the record.   I

                         17        just wanted to follow up on one thing.

                         18                                     Mayor, when you and Lafayette

                         19        Linear were conversing about Eddie Bradley,

                         20        again do you recall why he would not fire Eddie

                         21        Bradley?

                         22                  A.         No, there was no cause to.

                         23                  Q.         That's what he said, no cause?

                         24                  A.         Yes.


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                            8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 89 of 108 PageID #:1124

                                                            cmsreporters@comcast.net

                                                                                                   Page 55
                           1                 Q.         Did he say anything about

                           2       investigations or anything of that nature?

                           3                 A.         No, not that I can remember.

                           4                            MR. MORAN:     Okay.   I have no further

                           5       questions.

                           6

                           7                                         EXAMINATION

                           8       BY MR. LANZITO:

                           9                 Q.         Mayor, I just have a couple.

                         10                                     You said at one point in time you

                         11        went to the Will County Sheriff's Office or

                         12        Will County State's Attorney's Office, Griffin

                         13        and the plaintiff and Chief Bradley, correct?

                         14                  A.         Yes.

                         15                  Q.         And you were also given an

                         16        investigative file or saw an investigative file

                         17        provided by Mr. Bradley?

                         18                  A.         Yes.

                         19                  Q.         Did you ever share the fact that you

                         20        received that investigative file with Vivian

                         21        Covington?

                         22                  A.         No.

                         23                  Q.         Did you ever share the fact that you

                         24        went to the Will County State's Attorney's


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                          8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 90 of 108 PageID #:1125

                                                            cmsreporters@comcast.net

                                                                                                     Page 56
                           1       Office with Mr. Bradley with anyone else other

                           2       than talking about it today?

                           3                 A.         Trustee Griffin.

                           4                 Q.         Trustee Griffin was there, correct?

                           5                 A.         Correct.       I don't remember.

                           6                 Q.         I'm sorry.

                           7                 A.         I don't remember.

                           8                 Q.         Telling anyone else?

                           9                 A.         No, I don't remember telling anybody

                         10        else.

                         11                  Q.         Do you remember telling Vivian

                         12        Covington that you went to the Will County

                         13        State's Attorney's Office?

                         14                  A.         Absolutely not.

                         15                  Q.         So you are saying you absolutely did

                         16        not tell her?

                         17                  A.         No, I know I didn't.

                         18                  Q.         Okay.        Do you know if Trustee Griffin

                         19        did?

                         20                  A.         I don't know.

                         21                  Q.         Do you know if Chief Bradley did?

                         22                  A.         I don't know.

                         23                             MR. LANZITO:        That's all I have.

                         24        Thanks.


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                            8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 91 of 108 PageID #:1126

                                                            cmsreporters@comcast.net

                                                                                                        Page 57
                           1                            MR. MORAN:        I have one follow-up

                           2       question then.

                           3

                           4                                    EXAMINATION (CONT'D)

                           5       BY MR. MORAN:

                           6                 Q.         Mayor, what were your reasons for not

                           7       telling Covington about going to the Will

                           8       County State's Attorney's Office?

                           9                 A.         I'm not a law enforcement officer, but

                         10        you know, you don't give the other team your

                         11        playbook.

                         12                  Q.         And was she mentioned in this

                         13        conversation with the Will County State's

                         14        Attorney's Office?

                         15                  A.         I'm sure.

                         16                  Q.         Okay.        And this trip to the Will

                         17        County State's Attorney's Office, was that

                         18        mentioned to Lafayette Linear?

                         19                  A.         I don't recall.

                         20                  Q.         And you do recall that Linear said he

                         21        was not going to fire Bradley because there was

                         22        no cause to fire him, did he say anything else

                         23        as to -- for those reasons -- as to reasons for

                         24        terminating Bradley?


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                               8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 92 of 108 PageID #:1127

                                                            cmsreporters@comcast.net

                                                                                                    Page 58
                           1                 A.         I don't recall.

                           2                            MR. MORAN:      Okay.   I don't have any

                           3       further questions.

                           4                            MR. LANZITO:      That's all I have.     We

                           5       will reserve signature.                Thank you.

                           6                            MR. MORAN:      Okay.   Have a good day

                           7       everybody.               Thank you, Mayor.

                           8                            THE WITNESS:     All right.    Thank you.

                           9                                         (Deposition was concluded at

                         10                                          11:29 A.M.)

                         11                                           -O-o-O-

                         12

                         13

                         14

                         15

                         16

                         17

                         18

                         19

                         20

                         21

                         22

                         23

                         24


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                           8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 93 of 108 PageID #:1128

                                                            cmsreporters@comcast.net

                                                                                                       Page 59
                           1       STATE OF ILLINOIS                    )

                           2                                            )   SS:

                           3             COUNTY OF COOK                 )

                           4                              The within and foregoing deposition

                           5       of the aforementioned witness was taken before

                           6       Carol M. Siebert-LaMonica, C.S.R, at the place,

                           7       date and time aforementioned.

                           8                              There were present during the taking

                           9       of the deposition the previously named counsel.

                         10                               The said witness was first duly sworn

                         11        and was then examined upon oral interrogatories;

                         12        the questions and answers were reported in

                         13        shorthand by the undersigned and transcribed

                         14        via computer-aided transcription.

                         15                               The within and foregoing is a true,

                         16        accurate and complete record of all of the

                         17        questions asked of and answers made by the

                         18        forementioned witness at the time and place

                         19        hereinabove referred to.

                         20                                          The signature of the witness was

                         21        not waived and the deposition was submitted

                         22        pursuant to Rules 207 and 211 (d) of the Rules

                         23        of the Supreme Court of Illinois to the

                         24        deponent per copy of the attached letter.


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                              8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 94 of 108 PageID #:1129

                                                            cmsreporters@comcast.net

                                                                                                        Page 60
                           1                              The undersigned is not interested in

                           2       the within case, nor of kin or counsel to any

                           3       of the parties.

                           4                              Witness my official signature in and

                           5       for Cook County Illinois on March 8, 2021.

                           6

                           7

                           8                                         Carol M. Siebert-LaMonica

                           9                                         C.S.R. No. 084.001355

                         10

                         11

                         12

                         13

                         14

                         15

                         16

                         17

                         18

                         19

                         20

                         21

                         22

                         23

                         24


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                               8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 95 of 108 PageID #:1130

                                                            cmsreporters@comcast.net

                                                                                                 Page 61
                                                          C O R R E C T I O N   P A G E

                                                          I made the following changes for the

                                   following reasons:

                                   PAGE LINE              CHANGE:

                                   ____ ____              ___________________________________

                                                            REASON: __________________________

                                   ____ ____              ___________________________________

                                                            REASON: __________________________

                                   ____ ____              __________________________________

                                                            REASON: __________________________

                                   ____ ____              ___________________________________

                                                            REASON: __________________________

                                   ____ ____              ___________________________________

                                                            REASON: __________________________

                                   ____ ____              ___________________________________

                                                            REASON: __________________________

                                   ____ ____              ___________________________________

                                                            REASON: __________________________

                                   ____ ____              ___________________________________

                                                            REASON: __________________________

                                   ____ ____              ___________________________________

                                                            REASON:



                                   (Signed)_______________________________


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                        8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 96 of 108 PageID #:1131

                                                            cmsreporters@comcast.net

                                                                                                   Page 62
                                                                WITNESS CERTIFICATION




                                                                     I hereby certify that I

                                   have read the foregoing transcript of my

                                   deposition consisting of Pages 1 through 66,

                                   inclusive.               Subject to the changes set forth on

                                   the preceding pages, the foregoing is a true

                                   and correct transcript of my deposition taken

                                   on July 29, 2020.




                                                                (Signed) ______________________




                                   SUBSCRIBED AND SWORN TO

                                   Before me this __ day of

                                   _________,2021.




                                   _____________



                                   Notary Public


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                          8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 97 of 108 PageID #:1132

                                                            cmsreporters@comcast.net

                                                                                                       Page 63
                                           SIEBERT & ASSOCIATES COURT REPORTERS, INC.

                                                                507 West 28th Place

                                                                     Chicago, IL   60614



                                   March 8, 2021



                                   PETERSON, JOHNSON & MURRAY CHICAGO

                                             MR. DOMINICK LANZITO

                                             200 West Adams, Suite 2125

                                             Chicago, IL               60606

                                             (Danzito@pjmchicago.com)

                                   Re:       BRADLEY V VILLAGE OF UNIVERSITY PARK

                                             Dep:         JOSEPH E. ROUDEZ, III



                                   Dear MR. LANZITO:

                                             The deposition testimony given on

                                   July 29, 2020 in the above captioned case has

                                   been transcribed, and inasmuch as signature was

                                   not waived, this is to advise that the

                                   deposition will be available in our office for

                                   30 days for reading and signing.

                                             If you choose to read and sign the

                                   deposition at our offices, please call the

                                   undersigned for an appointment.                     Our office


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                              8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 98 of 108 PageID #:1133

                                                            cmsreporters@comcast.net

                                                                                                        Page 64




                                   hours are from 9:00 a.m. to 4:00 p.m., Monday



                                   thru Friday.



                                                          If you choose to make other



                                   arrangements for the reading and signing of the



                                   deposition, please advise us of the



                                   arrangements you have made in writing with 30



                                   days from the date of this letter.




                                                                     Sincerely yours,




                                                                     Carol M. Siebert-LaMonica


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                               8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
                  Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 99 of 108 PageID #:1134

                                                            cmsreporters@comcast.net

                                                                                              Page 65




                                                                       I N D E X



                                   Witness:

                                   Examination



                                     JOSEPH E. ROUDEZ, III




                                                          Mr. Moran                              4

                                                          Mr. Lanzito                          55

                                                          Mr. Moran                            57




                                                                     E X H I B I T S



                                   Number                                                Page




                                                          No. 1-10


                                          Siebert & Associates Court Reporters, Inc.

Electronically signed by Carol Siebert-LaMonica (001-088-343-0918)                     8cd8cb6c-d049-4f98-b4e3-1377fd0d1360
Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 100 of 108 PageID #:1135

                               cmsreporters@comcast.net
                                                                                     Page 66

            A            47:3 49:5 50:8     57:8,14,17       37:19,21,22        41:20
    a.m 1:13 58:10       52:6,13          attorneys 30:13    39:2 41:6
                       answered 46:15     auditing 41:21     46:16 48:19               C
      64:3
    able 23:15,16      answers 59:12      audits 45:22,23    49:17,17,23,24    C 8:8 15:13 61:1
      25:1               59:17              46:1,13,13       50:2,6 51:2         61:1
    absolutely 28:6    anticipation       Authorities 35:4  Bola 9:2,3 30:16   C.S.R 1:16 59:6
      35:17 42:6         46:3             available 63:20    52:19               60:9
      56:14,15         anybody 20:4       aware 9:20 10:5   bottom 26:9        call 63:23
    account 22:19        56:9               10:14,17 11:20  boy 6:6 50:19      called 4:2 48:21
    accounts 14:6      apart 4:18           16:3,24 17:9    Bradley 1:4 4:15   calls 22:3 33:20
      14:13,18 15:17   APPEARAN...          29:3,5 31:23     6:17,20 7:8,18      34:8 44:13
      22:18              2:1                37:13            7:20,23 8:13        52:5
    accurate 59:16     Appeared 2:13      awhile 18:14       9:13,17,23        captioned 63:17
    accused 16:20        3:6                                 10:2,6,11,14      Carol 1:16 28:16
                       appears 24:23              B          10:17,21 11:8       59:6 60:8
      17:1
    activities 31:12   APPELLATE          B 9:2 28:10,20     11:17,21 12:1       64:24
      44:17              2:8                29:4 31:10       12:5 14:17        case 4:15,16
    Adams 3:3 63:9     appointment          50:16,19,19,21   15:16 16:13         5:21 60:2
    address 4:19         52:9 63:24         52:19,20 53:1    17:2,9,16 18:5      63:17
      49:23            approval 27:13       53:3 65:19       18:8,15,24        cause 24:22
    administrative       28:5             back 21:13,15      19:8 20:11,18       25:13 54:22,23
      37:15,18 51:1    approve 24:5         23:7 29:15       21:4,8,12 22:1      57:22
    advise 63:19       approved 46:3,8      31:16,21 32:2    22:6 24:2,24      causes 27:16
      64:11            area 6:9             52:22 53:14      28:11 29:6        cease 18:16,24
    advised 52:8       arrangements         54:16            36:21 37:4,8      CERTIFICA...
    aforementioned       64:9,13          Bank 13:19 14:6    37:14 38:1,9        62:1
      59:5,7           asked 17:10 21:8     14:18 15:18      38:15 39:3,12     certify 62:4
    ago 49:20 54:5       36:20 46:14      based 43:8         39:19 40:21       CHANGE 61:4
    agree 13:3,15        59:17            basically 40:9     42:3 43:14,20     changes 61:2
    agreement 4:19     asking 4:10        basis 6:24         43:23 47:21         62:7
    ahead 33:15          21:12 27:6       behalf 2:13 3:6    48:7,9 50:5       charge 40:9
    al 1:8 4:16          34:23 44:3,16    believe 4:24 16:8  51:1 53:18,21     charted 49:20
    Allergies 20:8     ASSOCIATES           20:14 25:9       54:19,21 55:13    check 48:12,18
    Amended 4:13         63:1               35:5 48:8,13     55:17 56:1,21     Chicago 2:5,11
    amount 28:2        assume 50:3          48:14 49:19      57:21,24 63:12      3:1,4 13:23
      47:1             attached 28:9      believed 17:17    Bradley's 8:17       63:3,7,10
    announced            29:4 59:24       best 15:12         14:5 34:14        chief 6:17,21
      11:21 27:23      attachments 5:3    better 39:10      branch 13:22         7:18 11:9,18
    answer 11:14         5:19             beyond 34:20      branches 14:1        14:17 15:16
      12:17,23 13:7    attendance 8:1       35:8            breakfast 5:16       17:3,16 18:8
      14:8 17:13       attending 38:21    bit 26:15         bring 31:6           18:15 19:13,13
      20:22 22:4       attorney 4:21,24   blew 26:14        Britz 31:7           19:16 21:9,13
      24:11 25:8,16      30:1             blow 23:14        Brown 26:5           22:6 24:6,9,18
      33:21 34:8       Attorney's         Board 8:21 12:2 bucks 46:22            24:22 25:6
      36:7 43:8          43:15 44:2,7       27:5,6,12,18    Bureau 22:14         34:16,17,19
      44:14,23 45:18     55:12,24 56:13     27:23 28:5,5    business 41:19       35:7 36:21


                 Siebert & Associates Court Reporters, Inc.
Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 101 of 108 PageID #:1136

                               cmsreporters@comcast.net
                                                                                     Page 67

      38:1 39:3,12     completely         Corporate 35:4       42:22          deponent 59:24
      39:19 40:5         24:15 27:14      correct 5:10       create 41:7      deposition 1:11
      41:11 42:8       computer-aided       6:10,17 7:12     criminal 10:12     4:14,14,20 5:9
      43:20 47:21        59:14              8:3,22 15:4        10:15,18 13:17   5:14 23:11
      48:5,6,8 50:5    concern 28:1         16:14,15 17:7      44:16            58:9 59:4,9,21
      52:9 55:13       concerning           17:8 20:16,17    current 19:13,13   62:6,9 63:16
      56:21              17:10              21:1,22 22:20    currently 15:9     63:20,23 64:11
    choose 63:22       concerns 17:17       25:14,23 31:24   customary 34:2 describe 6:19
      64:7               17:24 49:18        32:1 36:12       CV 4:16            7:10
    CHRISTOPH...       concluded 58:9       38:1 39:1 41:2                    difference 52:24
      2:9              conclusion           41:16 42:19              D        different 24:12
    circumstances        33:21 34:8         43:23 45:16      d 5:10 9:2 50:18   24:16 41:12
      17:6 18:20         44:14 52:6         46:10 47:8,20      52:19 59:22    direction 45:9
    city 37:21         conduct 10:12        51:3,16 53:9       65:4           Director 19:24
    Civil 5:11         conducted 16:9       55:13 56:4,5     danger 27:16       20:1 29:14,19
    Ckeleher@ap...       22:12              62:9             Danzito@pjm... discussed 5:21
      2:12             conference 8:7     correction 4:18      3:5 63:11      discussion 43:24
    clarify 33:18        27:24            correctly 15:13    date 39:5 59:7   District 1:1,2,15
    clause 24:19,23    conferences        corruption 43:5      64:15            1:15
      25:6,11 35:3       35:17              43:17            dated 53:1,2     DIVISION 1:3
    clauses 32:10,20   confusion 25:7     council 7:1,2      dates 44:8       document 5:1
      33:13,19 34:6    consisting 62:6      46:4             Davis 48:1,11      24:1 25:15
    come 21:13,15      constant 35:18     counsel 59:9         49:1,10,15       26:20
      21:23 23:7       CONT'D 57:4          60:2               50:6           doing 40:23 42:8
      43:18 49:16      contagious 20:9    County 1:17        day 22:22 58:6     53:24 54:1,1,2
    comes 41:11        contentious 7:14     43:14 55:11,12     62:18          Dominic 51:17
    comment 10:3         7:15               55:24 56:12      day-to-day       Dominick 3:2
    Commission         continue 31:22       57:8,13,17         31:12 40:10      23:6 28:15
      40:17            continuing           59:3 60:5        days 52:24         50:15 52:22
    committed            22:22            couple 33:12         63:21 64:15      63:8
      10:14            contract 23:19       55:9             deal 40:18       due 22:1
    committing           24:1,8,9,15,19   Court 1:1,15       Dear 63:15       duly 4:3 59:10
      10:18              24:23 25:22        12:21 13:10      Deborah 19:18    duties 11:9,18
    communicated         32:3,5,21          23:3 59:23       declared 25:22     12:14 40:4
      10:24 11:3,5       34:14 46:19,20     63:1             defendants 1:9     41:5
    community 40:6     conversation       Covington 7:7        3:6
      54:4               36:23 53:16,23     15:3 18:16       definitely 22:5          E
    complaining          54:8 57:13         27:7,10 28:12    Delano 9:2,4     E 1:12 4:1,5
      17:20            conversations        29:23 36:20        30:16,21 35:24   5:10 8:8 9:2
    complaint 5:2        36:24              37:14 38:8,20      52:19            15:14 31:9
      5:19 28:8,10     conversing           39:11,18 45:12   Dep 63:13          52:15,19 53:5
      28:19 29:5         54:19              47:13 48:11,24   department         53:5,6 61:1,1
      50:16,21 51:20   Cook 1:17 59:3       50:5 51:12,14      10:10 12:6       63:13 65:4,9
      52:20 53:4         60:5               52:16 55:21        14:21 15:5       65:19
    complete 59:16     copy 47:21           56:12 57:7         16:12          earlier 50:24
    completed 26:17      59:24            Covington's        depends 44:6     EASTERN 1:3


                 Siebert & Associates Court Reporters, Inc.
Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 102 of 108 PageID #:1137

                               cmsreporters@comcast.net
                                                                                    Page 68

    Eddie 1:4 4:15     express 17:16       50:5             fund 27:12       hands 20:7
      6:16 9:13 11:8     49:18           firing 35:22       funds 27:12 28:3 happened 9:6
      11:17 12:1       expressed 17:23   firm 41:18         further 25:20       27:15 37:11
      17:2 18:24       extends 34:20     first 4:2 5:24       37:18 46:1        47:10 49:20
      19:8 21:3,8        35:8              19:17 24:4         51:2 55:4 58:3 hard 27:21 45:1
      24:1,24 28:11                        32:4,10,21                           45:3
      29:6 34:14                F          33:2,6 35:1              G        harm 27:16
      38:9,15 47:20    F 18:2,2 53:5       38:1,15 52:7     G 18:2 61:1      head 49:21
      48:7 50:24       fact 37:13 55:19    59:10            general 27:12    hear 13:9,19
      53:17 54:19,20      55:23          fiscal 46:13         33:13 34:5        14:14 15:23
    effect 15:21       failed 12:14      five 22:24 32:20   gentleman 21:20 heard 10:3
    election 46:18     false 46:11       focus 43:11        getting 45:7        14:12 15:20
    emergency 38:2     falsely 12:13     follow 41:8          46:2              42:13
      38:16 39:8          13:3,15          54:17            give 10:2 13:10  hearing 9:14,23
    employ 34:19       familiar 49:22    follow-up 57:1       32:13 57:10       39:8 46:21
      35:6             fantastic 4:9     following 39:6     given 49:16      heart 49:21
    employee 18:24        42:7             61:2,3             55:15 63:16    hearty 5:16
      21:12,16         far 5:2 22:23     follows 4:4 34:4   go 23:22 31:16   held 38:2
    employees 11:3     FBI 42:23         foregoing 59:4       32:2 33:2,7,15 hereinabove
      35:22            federal 5:11        59:15 62:5,8       39:23 43:13       59:19
    employment            17:18 18:5     forementioned        44:6 53:14     hired 38:2,15,16
      32:3                19:9 22:9,14     59:18            goes 40:16          39:7
    enforcement        fee 25:13,21      form 11:13         going 5:8 23:13 hiring 35:22
      57:9             Felicia 30:7        12:16 14:7         40:24 42:7        38:12 50:6
    enlarged 26:15     fiction 45:4        16:21 17:12        44:5 46:1 57:7 Holloway 41:15
    equal 25:13        file 47:22 55:16    22:3 34:3          57:21             41:16 42:18
    et 1:8 4:16           55:16,20         44:23 45:17      good 4:7 5:16       46:12 47:13
    everybody 58:7     files 17:10         50:7               34:15,15 41:23 Holloway's
    exactly 27:19      finally 45:9      formally 21:7        47:15 58:6        42:11
      38:5 43:10       Finance 10:10     former 14:22,24    goodness 30:2    home 34:19 35:6
    Examination           14:21 15:5,6     36:20 48:5       grab 23:1        hours 64:3
      55:7 57:4 65:7   finances 45:15    forth 62:7         Grabbing 28:17 house 5:15 46:7
    examined 4:3          46:7           found 37:16        great 27:16      Human 29:14
      59:11            Financials 41:21 foundation          Griffin 8:12        29:19
    executive 40:5     find 7:12 26:8      12:17 20:21        18:1 21:19
      50:1             fine 4:12           24:10 42:16        43:13 55:12             I
    exercising 5:17    finish 32:23        43:7 44:22         56:3,4,18      III 1:12 4:1
    exhibit 23:11      fire 36:21 39:19 four 25:13          gross 43:5,18       63:13 65:9
      26:3,10 28:13       40:14,15,16,24 four-year 6:7      GROUP 2:2,8      IL 2:5,11 3:4
      28:23 50:16,21      41:6 42:3,7    Frazier 30:8       guess 16:11 36:8    63:3,10
      51:18,19 52:20      54:20 57:21,22 Friday 64:5          44:5           illegal 27:15
      53:1,2,3         fired 10:4,12,21 front 4:17          guy 34:15        Illinois 1:2,15,18
    exhibits 28:9,10      11:21 13:4,16 full 14:14          guys 54:2           59:1,23 60:5
      28:20,22 29:4       20:11 21:4     function 36:14                      immediately
                          37:4 39:18                                H           48:6
    existence 45:22                      functions 40:3
    existing 13:24        43:23 49:2,10    41:5             H 65:19          immoral 27:14


                 Siebert & Associates Court Reporters, Inc.
Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 103 of 108 PageID #:1138

                                cmsreporters@comcast.net
                                                                                       Page 69

    inaccurate 38:6     J.t.m.moran...      41:14,15,16,24      45:17 46:14      little 23:14 26:14
    inappropriate         2:6               42:10,12,21,22      47:3 49:4 50:7      45:6 46:1
      27:11             Jacelia 15:7        43:1 47:9,17        50:18 51:19      LLC 2:8
    inasmuch 63:18      Jackson 29:10       47:24 48:4,16       52:5 53:1 55:8   located 13:21
    incident 17:10        29:13             49:15 53:22         56:23 58:4       long 6:14 44:20
    includes 25:11      Jerry 20:3          56:17,18,20,21      63:8,15 65:14       49:20 54:5
    inclusive 62:7      job 42:8            56:22 57:10      laptop 42:23        longer 30:20
    indicate 34:18      John 2:3 23:22     knowing 27:13     large 11:6          loss 28:2
      43:20 49:7          33:15            knowledge 12:3    Las 8:5 21:21       lost 46:18
    individual 47:24    JOHNSON 3:1         12:4 16:16       LaSalle 2:10        lot 43:9
    insure 28:14          63:7              18:22 20:18,20   law 2:2,8 17:18
    integrity 11:17     Joseph 1:12 4:1     20:23 21:10,11      18:5 39:16             M
      13:4                5:9 63:13 65:9    22:8 28:6           41:9 57:9        M 1:16 4:5 59:6
    interact 6:23 7:7   Judge 4:17          35:21 36:5       lawfirm 30:23        60:8 64:24
    interaction 7:11    July 1:13 62:10     43:8 44:20          31:1,7           main 43:11
    interested 60:1       63:17             47:12 48:10,19   laws 19:10          management
    interrogatories     June 29:15 30:1    known 49:1,5      lawyer 5:22          32:11
      59:11             jurisdiction       knows 42:18       lawyers 30:11       Manager 8:15
    introduce 27:17       41:12                                 31:11             8:21 9:4 30:16
    investigate 12:2                             L           leave 30:17 31:1     34:21 35:9,23
      12:5                      K        L 9:2,2 15:13,14       37:15,18 51:1     36:1 40:11
    investigated        K 15:14            15:14 52:19,19    left 5:15 30:17      41:13 46:2
      12:8,10 15:17     Keith 8:12 18:1    53:5,6            legal 33:21 34:8     52:17,21
    investigating         21:19 47:22    lack 11:17             44:14 52:6       mandatory
      43:21             KELEHER 2:8 lacked 13:4              legis 40:4           39:15 40:1
    investigation         2:9            Lafayette 8:13      Legislative         manipulation
      16:6,10,17        Kelly 15:7,14      36:5,17 52:23        36:15             28:4
      17:6 22:9,12      kept 53:24         53:17 54:18       let's 6:6 22:24     March 60:5 63:5
      22:15,16,21       kin 60:2           57:18                26:13            Maxine 29:9,13
      43:4,5,11         kind 9:23 14:13 Lake 2:4             letter 26:6,18,21   mayor 4:7 5:9
      47:22               41:20          language 24:7,8        37:14,17 50:17    5:13 6:1,11 7:7
    investigations      know 8:2,14,24     25:11                50:21,24 51:5     13:15 14:5,16
      18:17 19:1          9:12,15,16,19 Lanzito 3:2 5:22        51:8,10,22        14:21,22,24
      55:2                10:6,8,9,11,13   11:13 12:16,23       52:3,14,14,18     15:3 18:4,16
    investigative         10:21,23 11:2    13:6 14:7,22         59:24 64:15       19:7 23:13,14
      55:16,16,20         11:5,20,23       15:10,22 16:21    letters 28:10        23:24 26:12
    involvement           13:21 14:4,19    17:12 20:8,21        29:5              27:7,7,9,10
      8:18                14:20 15:6,16    22:3 23:7,13      line 44:9 61:4       28:7,11,11
    Irma 41:14,16         16:9,18 17:5     23:18,21 24:10    Linear 8:14,17       29:23 31:2,4
      42:11,18 46:12      17:23 18:15      25:7,15,24           8:20 36:5,17      31:22 32:5,9
      47:13               20:12 22:23      26:5,8,11,14         37:8 40:20,24     32:20 33:2,21
    issue 10:9            23:14 24:21      28:17,21 31:18       42:2 52:23        34:9,20 35:8
    issues 54:4           26:16 29:9,11    32:6,15 33:1,5       53:17,20 54:7     35:13 36:20,20
                          29:11,24 32:24   33:15,20 34:7        54:19 57:18,20    37:3,13 38:8
            J             35:24 38:10      36:6 42:16        listed 26:23         38:20 39:11,18
    J 8:12 15:13          39:10,18 40:13   43:7 44:13,22        52:17,21          39:22,23 40:4


                   Siebert & Associates Court Reporters, Inc.
Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 104 of 108 PageID #:1139

                               cmsreporters@comcast.net
                                                                                   Page 70

     42:22 44:19      money 28:2,4,5     52:19 53:6     observed 47:14         35:10,21 36:4
     45:12,21 48:11    42:10 46:17       61:1 65:4      occasion 7:6           36:13 37:8,21
     50:16,20 51:11    47:1             name 15:11,14     36:16                39:9,11 40:3
     51:13 52:16      Montana 30:11      19:15,17 29:11 October 46:5           41:5 42:21
     53:9 54:18        30:15             29:19 51:16    Odelson 30:6,9         43:13 44:10,19
     55:9 57:6 58:7   month 7:4         named 29:9 30:7 offenses 10:15         47:20 48:24
    mean 14:23        months 25:13       30:11 41:14      10:18                49:7,15,24
     19:21 25:17       43:24             47:24 59:9     offensive 12:13        50:20 51:7,17
     35:19 40:7       Moran 2:2,3 4:6   nature 55:2       13:5,17              51:24 52:3
     48:22 51:19       4:11 5:7 11:16   navigate 23:22  office 12:15           53:14,19 54:6
    meaning 34:3,4     12:20 13:2,14    neighbor 21:5     39:22 43:15          54:10,13,16
     34:5,11           14:15 15:2,15    never 20:18       44:2,7 45:16         55:4 56:18
    means 40:8         16:2,23 17:15     46:13            45:24 47:2,4         57:16 58:2,6
    meet 7:2           19:3,6 20:10     new 31:7          52:9 55:11,12      on-the-job
    meeting 8:4,5      20:24 22:7,24    No.15-cv-08489    56:1,13 57:8         35:16
     38:2,17,21        23:3,6,9,20,23    1:6              57:14,17 63:20     once 37:1
     39:2 49:17        24:13,17 25:10   Norgle 4:17       63:24              one-year 24:15
    meetings 7:1       25:19 26:2,7,9   Northern 1:2,15 officer 40:5,14      ongoing 22:16
     46:4              26:16,19 28:15   Notary 62:24      40:15 41:9           43:2
    Mel 47:24 48:11    28:19 29:2       notice 1:18 4:13  53:21 57:9         operating 45:5
     49:1,10,15        31:14,20 32:8    notifying 50:24 officers 41:11       operation 32:12
     50:6              32:17,19 33:9    number 26:4,12  offices 63:23        operations
    member 37:21       33:12,17,24       65:21          official 39:2 40:8     40:10
    members 12:2,6     34:12 35:2       numbers 45:2      60:4               opinion 12:24
    memory 30:3        36:9 42:17        46:20          Oh 6:6 14:16         opportunity
     38:23             43:12 44:18                        26:22 29:24          10:3 49:16,22
    mention 18:8       45:10,20 46:23          O          30:2,17 34:15      oral 59:11
     19:19,23          47:6 49:6        O 4:5 5:10 8:8    35:3,15 38:23      ordinance 34:3
    mentioned 5:1      50:11,15,19       9:2,2 31:9,9     44:5               organization
     19:8 37:1 54:7    51:21 52:12       52:19,19 61:1 okay 4:7,24 5:4         42:11
     57:12,18          53:7 54:10,15     61:1             5:7,18 6:8,10      Oscar 26:5
    million 22:17      55:4 57:1,5      O-o-O- 58:11      7:13 12:1          Ottosen 31:7
    millions 44:21     58:2,6 65:13     oath 1:12 31:23   14:20 15:20
    minute 32:3        65:15            Object 11:13      16:3,6,16 17:9            P
    minutes 23:1      morning 4:7       objection 4:21    18:22 19:23        P 61:1
     31:15 38:18       38:3,17 39:7      4:22 12:16       20:4 21:3,7        p.m 64:3
     49:24 50:2       motion 7:22        14:7 16:21       22:24 23:2,3,9     page 24:23 25:1
     54:11             8:16              17:12 22:3       23:16 24:7,13        32:4,10,21,22
    mismanageme...    moved 39:19        24:10 25:7,15    24:21 25:3,5         33:2,2,6,8,11
     43:6,18          moving 28:4        25:24 33:20      25:20 27:5,22        35:1,2 61:4
    missing 22:17     MURRAY 3:1         34:7 36:6        28:1,15 29:13        65:21
     32:16             63:7              42:16 43:7       29:24 30:10        pages 62:6,8
    mistaken 13:23                       44:13,22 45:17   31:3,18,21,22      paid 20:18 25:21
     22:15 40:16              N          46:14 49:4       32:2,9,18 33:4       42:10 46:12
    moment 19:3       N 4:5,5 8:8 9:2    50:7 52:5        33:7,9,14,14         47:1,7,10
    Monday 64:3        18:2 31:9        objections 13:6   33:15,18 34:5      paperwork 23:1


                Siebert & Associates Court Reporters, Inc.
Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 105 of 108 PageID #:1140

                                 cmsreporters@comcast.net
                                                                                       Page 71

    Park 1:7 4:16         7:18 11:9,18      problem 23:6       14:11 23:15,16    record 31:21
      6:1,12 27:6         12:6 16:11        procedure 5:12     26:12 33:6          41:10 54:16
      35:5 48:5           17:2 19:14         40:13             38:7 62:5           59:16
      52:10 63:12         21:8,13 24:9      procedures 41:7    63:22             records 39:9
    parties 4:19 60:3     24:22 25:6         41:7            reading 25:18         47:18
    passed 38:4 39:4      32:12 34:17,19    process 36:3,4     26:17 32:23       red 44:21 45:6,7
    passing 21:6          35:7 39:13         38:11,13,19,21    63:21 64:9          45:11
      46:4                40:14,15,16        41:8            reads 26:1          referred 23:12
    pay 10:7 20:15        41:6,8,11,11      Professional     ready 33:7            59:19
      51:1                48:5 52:10         6:22            really 15:21 30:2   referring 18:6
    payments 20:13        53:21             protection 44:16   30:5 38:23        reflect 38:18
    pending 37:18        policy 18:10,12    provided 9:13    reason 49:19        refused 20:12,15
      51:2                19:9               55:17             53:24 61:6,8      regarding 29:1
    people 26:24         politics 42:9      public 11:6        61:10,12,14,16    regular 6:24
      27:14 45:1          50:12 54:7         19:24 62:24       61:18,20,22         49:17
    perform 11:8,11      position 29:16     pull 32:6 52:21  reasons 9:17        rehabilitate
      12:14               35:14             pursuant 1:14      43:10 50:4          45:15
    performance          possible 18:18      1:18 5:11         57:6,23,23        relationship
      11:18               50:10              38:16 59:22       61:3                6:20 47:12,18
    period 9:9 35:7      potentially        put 29:19 51:17  recall 7:17,22      relevance 14:8
      35:19 46:24         19:20,21 50:9                        8:24 9:3 12:8     remember 12:9
      47:8               powers 34:19               Q          16:19 17:20         12:10 15:7,21
    person 13:4 20:6      35:6              question 10:16     18:12 19:7          15:24 17:22
      29:12 41:14        praises 53:21        12:18,22 13:9    27:2,6 28:12        20:6 27:19,21
    personally 47:14     prayed 5:15          13:12 14:9,11    29:13 30:11         30:5,7 38:5,19
    PETERSON 3:1         pre-termination      14:14 16:24      36:19 37:19         38:24 44:7
      63:7                9:13                17:13 25:4,5     38:8,20 39:11       48:23 50:4
    pistol 16:20 17:1    preceding 62:8       28:24 29:3       39:14 41:3          54:4 55:3 56:5
    place 59:6,18        predecessor          34:10 38:14      42:5 48:20,21       56:7,9,11
      63:2                29:21,22            41:23 45:18      49:10,13 54:20    remotely 4:20
    placed 16:4          prepare 5:14         52:13 57:2       57:19,20 58:1     remove 17:10
    placing 37:14        present 24:9,18    questioned 38:7 receive 9:23         renewed 46:19
    plaintiff 1:5 2:13    24:21 25:6        questions 31:16    25:12 39:21         46:20
      55:13               59:8                33:11,13,16    received 10:7       repeat 12:18,20
    plan 34:16           presented 7:22       55:5 58:3        26:24 55:20       replaced 8:20
    play 45:2             9:3                 59:12,17       receiving 27:2        9:1
    playbook 57:11       presently 43:1                      Recess 19:5         reported 59:12
                                                    R
    playing 42:9         press 27:24                           23:10 31:19       Reporter 12:21
    please 10:16         previously 59:9    R 5:10 8:8 18:2    54:14               13:10 23:4,5
      12:19 13:10        principal 41:18      31:10 53:6     recognize 26:20     REPORTERS
      15:10 32:13        prior 6:10           61:1,1           51:7 52:1           63:1
      52:8 63:23         privileged 27:14   ragged 46:7      recollect 18:7      reporting 44:16
      64:11              probably 37:1      Ray 1:4 4:15     recollection 18:4   reserve 58:5
    point 34:24           43:9 54:3           21:3,8,19 29:6   18:19 29:18       resign 27:7,10
      55:10              probationary         47:20 48:7       54:6,9            resolution 34:2
    police 6:17,21        24:14             read 12:22 13:12 recon 8:7           resolved 22:22


                  Siebert & Associates Court Reporters, Inc.
Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 106 of 108 PageID #:1141

                                cmsreporters@comcast.net
                                                                                       Page 72

    Resources 29:14       14:6,18 15:17      64:9             stay 30:20         tenure 15:8
      29:20             second 32:13,14    signor 40:8        stayed 35:15       term 6:5,7 25:21
    restate 10:16         32:22 33:1,5     similar 24:8       Sterk 30:6,9         34:20 35:8
      38:14               53:15              25:6             stolen 16:3        terminate 7:23
    results 16:17,18    see 6:6 7:6 9:12   simultaneously     storage 16:4         40:22 41:8
      22:13               21:5 23:18,20      37:10            Street 2:4,10      terminated 9:22
    retained 14:6,12      24:4,18 25:1     sincerely 51:11      13:23              14:17 25:12
    retaliation 50:6      26:13 28:13        51:15 52:15      stuff 47:15          36:5 37:9
    return 21:8           31:15 32:9         64:19            subject 43:17        49:18 52:11
    review 37:18,22       50:20 51:5,9     singing 53:21        62:7             terminating
      51:2                51:22,23,24      single 36:23       submitted 59:21      7:18,19 53:17
    reviewed 5:1,18       52:15            sir 6:5            SUBSCRIBED           57:24
      28:7 45:22        seen 23:24 52:2    situation 50:13      62:17            termination
    rewind 13:11        seminars 35:13     solid 45:3         sudden 28:2          8:17 9:17
    right 5:8,19 13:9     39:22,23         somebody 44:15     Suite 2:4,10 3:3     10:23 11:2,10
      26:11 28:3,17     sent 29:6 37:14    son 16:20,22         63:9               14:5 24:22
      32:7 45:8         sentence 52:8        17:2             Supreme 59:23        37:23 40:21
      51:15,17 53:12    series 36:24       sorry 15:23 56:6   sure 13:8 15:19      52:4,14
      58:8              serve 35:7         sounds 49:21         20:14 24:20      testified 4:3
    rotating 34:16      session 50:1       South 2:10           31:9 37:11       testimony 63:16
    Roudez 1:12 4:1     set 62:7           speak 36:16          43:10 57:15      testing 30:2
      4:7 5:9,13        severance 10:7     speaking 30:22     sworn 4:3 6:4        38:23
      23:13 27:9          20:19 24:19      speaks 25:16         39:3 59:10       Thank 4:9 35:10
      28:7 31:22          48:12              34:17              62:17              44:19 58:5,7,8
      32:5 35:13        share 55:19,23     specifics 17:22                       Thanks 23:9
      44:19 50:16,20    sharing 26:11      speculation 22:4            T           56:24
      63:13 65:9        Sheriff's 55:11      49:4 50:8        T 2:3 4:5 31:9,9   thing 36:11
    rule 34:19 35:6     shift 26:3         spell 15:10,13       31:10 53:5         54:17
    Rules 1:14 5:11     shorter 30:20        31:8               61:1 65:19       think 32:16
      59:22,22          shorthand 59:13    spelled 5:10       take 4:14,21         44:24 50:23
    running 15:6        shortly 44:9       spend 46:17          22:24 31:14        54:11
                        show 32:5 34:24    spoken 21:3          54:10            thought 18:9
            S             38:8 50:15       SS 59:2            taken 1:12 38:3      19:8
    S 31:9 65:19        SIEBERT 63:1       stand 17:14          39:2 42:23       TIFF 22:17,19
    salary 25:14        Siebert-LaMo...    started 35:24        59:5 62:9          27:12 28:3
    Saturday 38:3         1:16 59:6 60:8   state 1:18 12:14   talked 40:20       time 5:24 8:16
      38:16 39:7          64:24              17:18 18:5         50:23              9:10 11:9 14:2
    saw 28:14 55:16     sign 63:22           19:9 39:16       talking 18:13        14:3,5 15:6
    saying 13:3,16      signature 51:13      41:9 59:1          38:12 54:3         20:1 27:3 30:6
      56:15               58:5 59:20       State's 43:14        56:2               30:14 35:7
    says 25:12,20         60:4 63:18         44:2,7 55:12     team 57:10           44:8 46:24
      34:15 35:10       signed 28:11         55:24 56:13      tell 23:21 40:21     47:8,10 55:10
      51:11 52:7          51:7,10 52:14      57:8,13,17         42:2 56:16         59:7,18
    scroll 28:22          61:24 62:13      statement 27:18    telling 36:19      today 4:13,14
      32:15             significant 28:2   states 1:1,14        56:8,9,11 57:7     5:14 28:8 56:2
    Seaway 13:19        signing 63:21        35:3 37:17       ten 22:10          told 18:16,24


                 Siebert & Associates Court Reporters, Inc.
Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 107 of 108 PageID #:1142

                               cmsreporters@comcast.net
                                                                                    Page 73

      31:3 45:24       undersigned       violating 19:9      13:8,13 14:9             1
    top 32:22 33:1      59:13 60:1       violations 17:18    14:12,24 15:12   1 33:11 62:6
    totally 41:13       63:24              18:9,12           15:24 20:23      1-10 23:11 65:24
    town 7:24 8:3,19   understanding     Vivian 45:11        22:5 23:2,16     10 31:14
      9:5,7 36:2,10     33:19,22 46:18     47:13 48:24       24:12,14 25:9    10:30 23:8
      37:12 38:10      unenforceable       51:11 52:15       25:17 26:1,13    10:34 1:13
    Townsend 20:3       25:22              55:20 56:11       26:18 28:24      101 2:4
    training 35:14     United 1:1,14     vote 7:17,19        32:18 33:4,7     11:29 58:10
      35:15,16,18      University 1:7      38:3,8 39:2       33:10,14,22      14 46:3,9
      39:15,21 40:1     4:16 6:1,11        48:22             34:10 36:8       14.9 22:17
    transcribed         27:6 35:5 48:5   voted 24:5 48:18    43:9 44:15,24    15 4:16 6:4 46:3
      59:13 63:18       52:10 63:12      voting 39:12        45:19 46:16        46:9 52:11
    transcript 62:5    up-to-date        vs 1:6              47:4 50:9 52:7   16 46:3,9 53:2
      62:9              45:23 46:5                           53:5 54:13       16th 53:8,11
    transcription      upset 49:1,8            W             58:8 59:5,10     17 46:4
      59:14                             wages 20:13          59:18,20 60:4    190 2:10
    transferring               V        waived 59:21         62:1 65:6
      27:11            V 63:12           63:19              woman 29:9                2
    trip 57:16         vague 17:13      want 13:8 18:3       30:7             200 3:3 63:9
    true 46:11 59:15   vaguely 49:21     23:21 26:3         words 7:12        2005 6:15
      62:8             Vegas 8:5 21:21   28:21              working 45:6,8    2013 39:8
    trustee 6:11,14    vehicles 16:4,7  wanted 33:18        Works 19:24       2015 29:15 30:1
      6:16 7:3 8:9     versus 4:15       37:3 53:14         wouldn't 22:6      50:17 52:11
      10:15,19 16:19   Village 1:7 4:15  54:17              Wow 46:8           53:2,3
      17:1 18:1,23       8:6,15,20 9:4  wants 40:22         wrap 31:16        2016 26:10
      21:12,15,17,19     9:12,16,24     Wash 20:7           wrapping 54:12    2017 6:15 27:20
      21:22 35:12,19     10:2 11:3,6    wasn't 27:23        writing 9:18       46:19 47:5
      39:15,24 41:19     12:2 14:4,16    47:9 53:23          64:13            2019 6:4 47:5
      43:13 46:19        15:17 16:4,19 way 42:6             wrong 5:10        2020 1:13 46:8
      56:3,4,18          17:1 18:9,23   Wednesday 1:13                         62:10 63:17
    Trustee's 36:13      18:23 19:9     week 37:9                  X          2021 60:5 62:19
    Trustees 8:22        20:12,17 21:7 weekend 9:9          X 4:5 65:4,19      63:5
      37:22              21:12,16 22:2 Welch 30:11,15                         207 59:22
                         22:6,9 29:7,15 welcome 4:11               Y
    trying 34:13                                                              2100 2:10
      44:24 45:14        29:17 30:1,13 went 14:13 44:1      Y 15:14 53:5      211 59:22
    Tuesday 7:5          30:16 31:11     47:16 55:11,24     year 46:6         2125 3:3 63:9
      39:6               34:21 35:5,9    56:12              years 22:10       23 6:6
    Twice 7:4            35:12,22,23    West 2:4 3:3        yesterday 28:14   25,00 48:12
    two 28:8,10          36:1,13 39:15   63:2,9                               28th 63:2
                                                                    Z
      52:24 54:11        40:11 41:13,19 whipping 16:20                        29 1:13 53:2
                         42:11 44:20     17:2               Z 5:10 31:10
                                                            ZOOM 1:12          62:10 63:17
           U             45:11,15 46:2 whistleblower                          29th 53:8,12
    U 5:10               46:11 47:18     44:10,12                  0          2nd 7:4
    unable 11:8,11       48:18 49:17    Wilson 19:16        084.001355 1:17
    unaware 17:4         52:10,17,21    witness 4:2                                     3
                                                             60:9
     19:2 46:21          63:12           11:15 12:18,24     08489 4:16        3 26:10


                 Siebert & Associates Court Reporters, Inc.
Case: 1:15-cv-08489 Document #: 112-1 Filed: 09/29/21 Page 108 of 108 PageID #:1143

                            cmsreporters@comcast.net
                                                                          Page 74

    30 63:21 64:13
    300,000 42:14
            4
    4 24:23 25:1
      65:13
    4:00 64:3
    4th 7:4
            5
    5/14/23 6:8
    507 63:2
    55 65:14
    566 2:4
    57 65:15
            6
    600,000 46:12
      46:22
    60603 2:11
    60606 3:4 63:10
    60614 63:3
    60661 2:5
    66 62:6
    6th 50:17
           7

            8
    8 60:5 63:5
    87th 13:23
            9
    9 26:4,12
    9:00 64:3




                   Siebert & Associates Court Reporters, Inc.
